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16                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
17
18   INLAND EMPIRE WATERKEEPER, a                 Case No.: 8:18-cv-00333 DOC (DFM)
19   project of Orange County Coastkeeper,
     and ORANGE COUNTY                            Hon. David O. Carter
20   COASTKEEPER, a California non-profit
21   corporation,                                 DECLARATION OF
                                                  CHRISTOPHER SPROUL IN
22                                                SUPPORT OF PLAINTIFFS’
                 Plaintiffs,                      MOTION FOR ATTORNEYS’
23                                                FEES AND COSTS
           v.
24                                                (Federal Water Pollution Control Act,
                                                  33 U.S.C. §§ 1251 et seq.)
25   CORONA CLAY CO., a California
     corporation,
26                                                Hearing date: December 11, 2023
                                                  Time: 8:30 AM
27               Defendant.
                                                  Location: Courtroom 10A
28                                                Action Filed: February 27, 2018


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1          I, Christopher Sproul, hereby declare:
2          1.     The facts set forth in this declaration are based on my personal
3    knowledge; if called to testify as a witness, I could and would competently testify
4    thereto under oath. As to those matters that reflect a personal opinion, they reflect
5    my personal opinion and judgment upon the matter.
6          2.     I am more than eighteen years old, am competent to testify, and have
7    personal knowledge of the matters stated in this declaration.
8          3.     I am an attorney licensed to practice law in the State of California. I am
9    the senior lawyer in Environmental Advocates, a public interest law firm, and I am
10   counsel for Plaintiffs Inland Empire Waterkeeper and Orange County Coastkeeper
11   (collectively, “Coastkeeper”) in this matter.
12         4.     I make this declaration to in support of Plaintiffs’ Motion for
13   Attorneys’ Fees and Costs (“Motion”) pursuant to 33 U.S.C. § 1365(d).
14   I.    Christopher Sproul Biographical Information
15         5.     I earned my Juris Doctorate from the University of California, Berkeley
16   in June 1986 and a Master of Arts degree in political science from the University of
17   California, Santa Barbara in August 1982.
18         6.     I have been a member of the California Bar since December 1986. I
19   have also been a member of the bar of the United States District Court for the
20   Central District of California since 1986, and I am a member of several other federal
21   bars, including the bars for the U.S. Supreme Court, U.S. Court of Appeals for the
22   Ninth Circuit, U.S. Court of Appeals for the District of Columbia Circuit, the U.S.
23   District Court for the Northern District of California, the U.S. District Court for the
24   Eastern District of California, the U.S. District Court for the Southern District of
25   California, the U.S. District Court for the District of Columbia, and the U.S. District
26   Court for the District of Hawaii.
27         7.     I have directed or co-directed Environmental Advocates for 21 years. I
28   have exclusively represented tribal governments, non-profit environmental

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1    organizations, and individuals seeking to advance environmental protection through
2    judicial litigation and administrative advocacy under the major environmental laws,
3    including the Clean Water Act (“CWA”), Endangered Species Act (“ESA”), Clean
4    Air Act (“CAA”), Resource Conservation and Recovery Act (“RCRA”), National
5    Environmental Policy Act (“NEPA”), the Coastal Zone Management Act
6    (“CZMA”), the California Environmental Quality Act (“CEQA”) and other state and
7    federal laws, including the Administrative Procedure Act (“APA”), California Code
8    of Civil Procedure sections 1094.5 and 1085, the Freedom of Information Act
9    (“FOIA”), and the California Public Records Act (“PRA”). I have brought these
10   citizen suits against various federal agencies, state agencies, businesses, and
11   municipalities.
12         8.     I currently am lead counsel or co-lead counsel in several cases in active
13   litigation and additional cases involving consent decree compliance monitoring. I
14   have also provided advice to several environmental organization clients concerning
15   the potential for several other citizen suit enforcement actions for violations of
16   various environmental laws. I have also presented public hearing testimony and
17   drafted written comments to government agencies concerning various environmental
18   regulatory decisions.
19         9.     The cases I have brought and continue to bring on behalf of my clients
20   are typically “impact litigation,” i.e., cases designed to have significant effect on
21   environmental law and policy and significantly advance environmental protection.
22   Numerous of these actions have resulted in court orders or judicial consent decrees
23   imposing far-reaching injunctive relief for environmental remediation and/or
24   remedies addressing agency responsibilities under the environmental laws. Cases
25   where I have served as lead counsel or as co-lead counsel have had a significant
26   impact on environmental law, as they have resulted in over 80 decisions published
27   in the Federal Reporter, Federal Supplement, LEXIS, and/or Westlaw. That many of
28   these cases have established important precedent in environmental law is further

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1    reflected in the numerous subsequent citations by other decisions to the cases where
2    I served as counsel. A partial bibliography of these cases is set forth as Exhibit 4 to
3    this declaration. Many of these cases have involved issues or concerns of
4    widespread public interest and that have accordingly attracted extensive media
5    coverage in newspapers, radio, television, and/or environmental periodicals or blogs
6    and social media commentary. I have also brought actions against federal agencies
7    under the APA and writ of mandate actions against state agencies challenging
8    agency actions or inaction.
9          10.    Prior to joining Environmental Advocates, I served as an Assistant
10   Regional Counsel for the U.S. Environmental Protection Agency (“EPA”) from
11   1987 until 2002. During my 15-year tenure at EPA, my primary concentration was
12   representing EPA in judicial and administrative enforcement actions brought under
13   the environmental statutes administered by EPA. The majority of these actions were
14   brought under the CWA, but I also worked on EPA enforcement actions brought
15   under RCRA, the CAA, the Safe Drinking Water Act, and the Marine Protection
16   Research and Sanctuaries Act (“MPRSA”). I also worked on several permitting
17   matters, including litigation challenges to EPA CWA NPDES permit decisions;
18   assisted in EPA reviews of state environmental programs; counseled EPA staff in
19   responding to FOIA responses; participated in work groups tasked with drafting
20   EPA regulations and proposed amendments to the CWA; and provided client
21   counseling to numerous EPA regulatory officials concerning compliance with the
22   CWA, the ESA, the CZMA, the MPRSA, and the APA.
23         11.    From 1997 to 1998, through an intergovernmental personnel agreement
24   between EPA and the State of Hawaii, I worked for the Hawaii Attorney General as
25   a staff attorney. In this role, I represented the Hawaii Department of Health in
26   several water pollution enforcement actions under the Hawaii equivalent of the
27   federal CWA, provided advice to the Department of Health concerning many
28   regulatory matters, and provided advice to the Hawaii State Legislature concerning

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1    environmental legislation related to water pollution.
2             12.     From 2004 to 2010, I was an Adjunct Professor at Golden Gate
3    University School of Law in San Francisco where I taught a course on
4    environmental litigation.
5             13.     I also served as a law clerk to U.S. District Court Judge William J. Rea,
6    in the U.S. District Court for the Central District of California in 1986 and 1987.
7             14.     Over the course of my years practicing law, I have filed several
8    motions for attorneys’ fees and costs in public-interest environmental litigation as
9    well as mediation briefs in fee negotiation matters. I have also written declarations
10   in support of attorney fee motions filed by other attorneys in cases in which I was
11   not counsel of record myself. As the managing attorney at Environmental
12   Advocates, I am also in charge of setting attorney fee hourly rates for myself and for
13   the more junior attorneys in the firm and have done so for years in numerous state
14   and federal courts. In carrying out these tasks, I have performed extensive reviews
15   of fee awards in cases involving a wide variety of complex civil litigation in the
16   U.S. District Court for the Central District of California as well as other market data.
17      II.         Tasks Performed and Hours Incurred in this Case
18            15.     I was retained by Coastkeeper to serve as lead counsel in the appeal of
19   the District Court’s 2019 Judgment in this case to the U.S. Court of Appeals for the
20   Ninth Circuit. Coastkeeper staff attorney Colin Kelly expressed to me that
21   Coastkeeper wanted experienced appellate counsel to handle this important appeal. I
22   served as Coastkeeper’s lead counsel for the appeal, with primary responsibility to
23   fashion appellate strategy, identify pertinent parts of the trial record to include in
24   Coastkeeper’s Excerpts of Record served on the Ninth Circuit, drafting multiple
25   Court of Appeals briefs, and present oral argument to the Ninth Circuit. Briefing the
26   Ninth Circuit appeal required many hours from Environmental Advocates’ counsel
27   to review the extensive trial court record and draft (successful) appellate motions
28   and multiple briefs on the cross-appeals. After the Ninth Circuit effectively ruled for

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1    Coastkeeper on the appeal, Defendant filed a writ of certiorari to the U.S. Supreme
2    Court. I was lead counsel with regard to preparing the extensive response/opposition
3    to this writ, and the writ was eventually denied. A true and correct copy of this
4    denial is attached as Exhibit 6. Denial of this writ brought the case back to the
5    District Court, where I continued on as co-counsel for the litigation team to aid in
6    various aspects of the remanded trial action. I assisted in the drafting of
7    Coastkeeper’s memorandum of facts and law, trial brief, and recommended jury
8    instructions and jury verdict form. I also advised on litigation strategy for the jury
9    trial. I helped formulate Coastkeeper’s strategy for requesting remedies following
10   the jury verdict in its favor and helped to draft Coastkeeper’s briefing for the post
11   jury trial/verdict remedies phase.
12         16.    Given my extensive experience with attorney fee and cost motions and
13   public interest litigation, Coastkeeper and the litigation team has also assigned me to
14   be the lead counsel for purposes of attorney fee and costs briefing and argument. I
15   have been the primary author of Coastkeeper’s motion for attorneys’ fees and costs
16   and I have further directed the team in performing very extensive billing judgment
17   reductions of our claimed attorney time and in preparing the numerous declarations
18   and exhibits to be included with our fees motion.
19         17.    Attached as Exhibit 2 is a true and correct copy of my chronological
20   time records that I personally and contemporaneously have kept using computer
21   timekeeping software and amended for clarity documenting the hours I worked on
22   these matters for which I am seeking to recover an attorney’s fee award, my hourly
23   rate for that time, and the resulting lodestar. Exhibit 2 includes time up through
24   November 26, 2023. Coastkeeper is requesting recovery for some of my time at a
25   reduced paralegal rate, including for some time that would plainly be properly billed
26   at attorney rates in order to keep the total fee request in this matter down.
27         18.    In exercising sound billing judgment and counseling my co-counsel
28   concerning their exercise billing judgment, I carefully reviewed my time sheets and

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1    a significant portion of my co-counsel’s time records and cut from my requested
2    recoveries excessive, redundant, and otherwise unnecessary or unsuccessful time. I
3    have particularly advised my co-counsel to cut from their requested lodestars time
4    spent educating new trial counsel from Morrison & Foerster brought in for the
5    second trial concerning facts of the case and status of proceedings that existing
6    counsel were already well familiar with to address contentions that might otherwise
7    be made that billing was for redundant work. I also advised that some billing
8    judgment reductions should be made for some of the time when multiple attorneys
9    were conferring internally over litigation tasks and strategy, again to address
10   potential contentions that billing was for redundant work. My Exhibit 2 identifies in
11   a separate column these hourly billing judgment reductions and accompanying
12   lodestar reductions.
13         19.    In addition to my work, the more junior attorneys at Environmental
14   Advocates, Brian Orion, Stuart Wilcox, and Marla Fox, engaged in numerous
15   activities to advance this litigation, as explained in their declarations in support of
16   this Motion. The hours they have spent on this matter (along with the hours that all
17   Coastkeeper’s lawyers and paralegals have spent on this matter) are documented in
18   the attached comprehensive time records exhibit, Exhibit 3. Exhibit 3 also includes
19   hourly rates for Mr. Orion, Mr. Wilcox, and Ms. Fox along with all other
20   Coastkeeper lawyers and paralegals. The individual declarations submitted by Mr.
21   Orion, Mr. Wilcox, and Ms. Fox in support of this Motion also include
22   authentication of their individual time records.
23         20.    In order to reduce the cost of this action, I supervised Mr. Orion, Mr.
24   Wilcox, and Ms. Fox in their actions related to this matter, which included legal
25   research, factual analysis, and assistance with the drafting of Court filings and other
26   documents. Plaintiffs are requesting recovery for some of the time incurred by Mr.
27   Orion, Mr. Wilcox, and Ms. Fox at a reduced paralegal rate. Plaintiffs request only
28   this reduced rate for certain of Mr. Orion, Mr. Wilcox, and Ms. Fox’s time to further

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1    reduce the fee request in this matter, even though some of this time would be
2    properly billed at attorney rates.
3           21.   It was cost-effective and necessary to have Mr. Orion, Mr. Wilcox, and
4    Ms. Fox carry out the tasks that they did and for me to adopt the role of senior
5    counsel and expert with regard to this matter, providing guidance and direction and
6    revising the work prepared by these attorneys. I was too occupied by other work in
7    this case and in other cases to perform the work done by these attorneys and, in any
8    case, they bill at substantially lower rates than I do, so it was cost-effective to
9    delegate tasks to them.
10          22.   I closely supervised and directed the work carried out by Mr. Orion,
11   Mr. Wilcox, and Ms. Fox to ensure their productivity and to avoid duplication to the
12   maximum extent feasible. Additionally, to prepare this Declaration and its exhibits, I
13   have carefully reviewed Environmental Advocates’ time records to ensure proper
14   billing.
15   III.   Christopher Sproul’s Reasonable 2023 Hourly Rate For Attorney Work
16          23.   I have 37 years of experience as of the time this Motion is filed. As
17   discussed above, I have extensive experience in environmental litigation, which has
18   earned me a strong reputation for citizen suit expertise. I have set my 2023 hourly
19   rate at $995 per hour for the Los Angeles/Orange County area legal market. This
20   rate is commensurate with, even lower than, many rates found reasonable in Central
21   District of California attorneys’ fee award decisions for attorneys with my level of
22   skill, years of experience, and reputation working on cases involving complex civil
23   litigation. In setting my hourly rate, I have reviewed market data and attorney fee
24   awards in cases decided over the past several years involving various types of
25   complex civil litigation in the U.S. District Court for the Central District of
26   California, which are described below.
27          24.   In the chart below, I have set forth the rates that the Court found
28   reasonable in the representative Central District of California cases that I have relied

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1     on as support for my hourly rate and then what those rates would be as an inflation-
2     adjusted 2023 attorney fee rate (assuming a very modest inflation rate of 3%. This is
3     a very conservative inflation assumption; available data suggests that inflation in the
4     legal market has certainly equaled and likely well exceeded 3% in recent years. It is
5     common knowledge that in recent years inflation has increased at records rates, well
6     above 3%). The average of these historical rates is $973.91 per hour, before
7     correcting for inflation. Notably, only one of the attorneys in the below examples
8     was more senior than me, and the remaining attorneys were all equally experienced
9     (one attorney) or more junior, some by as much as 12 years. Indeed, three of the
10    awards below are rates previously found reasonable for me in this Court for
11    previous years/experience levels, indicating that this is a conservative data set to
12    represent my rate. Utilizing a 3% per year inflation adjustment, the average of the
13    attorney hourly rates from the cases below is $1,052.03 per hour. The conservative
14    inflation adjusted average is notably well above my rate of $995 per hour by $57.03
15    per hour. Furthermore, as shown in the chart below, my $995 per hour rate is only
16    $16.50 over the inflation-adjusted rate I was awarded twice last year in this Court as
17    a Los Angeles/Orange County rate in Los Angeles Waterkeeper v. American
18    Reclamation, et al., 21-1140, Dkts. 45, 66 (C.D. Cal. April 15, 2022) and only
19    $17.01 over the inflation-adjusted rate I was awarded 3 years ago by the Ninth
20    Circuit as a Los Angeles/Orange County rate in Wishtoyo Found. v. United Water
21    Conservation Dist., No. 19-55380, Dkt. 65 at 8 (9th Cir. Nov. 16, 2020). That my
22    rate is consistent with these rates that have already been found reasonable for my
23    work, and that I have already been awarded for work in the Los Angeles/Orange
24    County area, is further evidence of the reasonableness of my rate.
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1     Name of       Hourly       Year of   Hourly Rate       Case Citation
2     Attorney      Rate         Rate      Conservatively
3     and Years     Found                  Adjusted for
4     of            Reasonable             Inflation (3%
5     Experience                           per year) to
6     When                                 2023
7     Requesting
8     Rate
9     Diana         $1,116.00    2021      $1,183.96         Aecom Energy &
10    Torres (29                                             Constr., Inc. v.
11    Years)                                                 Topolewski, No. 17-
12                                                           5398, 2022 U.S. Dist.
13                                                           LEXIS 84689 (C.D.
14                                                           Cal. May 9, 2022)
15    Debra         $875.00      2020      $956.14           Alikhan v. Goodrich
16    Tauger (31                                             Corp., No. 17-6756,
17    years)                                                 2020 U.S. Dist. LEXIS
18                                                           155169 (C.D. Cal. June
19                                                           25, 2020)
20    James M.      $980.00      2020      $1,070.87         Fan v. Delta Air
21    Finberg (37                                            Lines, No. 19-04599,
22    years)                                                 2020 U.S. Dist. LEXIS
23                                                           157480 (C.D. Cal. May
24                                                           20, 2020)
25    Peter Schey $950.00        2019      $1,069.23         Flores v. Barr, No. 85-
26    (35 years)                                             4544, 2019 U.S. Dist.
27                                                           LEXIS 221981 (C.D.
28                                                           Cal. Nov. 12, 2019)

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1     Dale K.       $1,100.00    2022     $1,133.00         French v. City of
2     Galipo (33                                            L.A., No. 20-00416,
3     years)                                                2022 U.S. Dist. LEXIS
4                                                           111194 (C.D. Cal. May
5                                                           10, 2022)
6     Larry Jones $915.00        2019     $1,029.84         Homegoods, Inc. v.
7     (40 years)                                            Papanicolaou, No. 19-
8                                                           06912, 2019 U.S. Dist.
9                                                           LEXIS 221967 (C.D.
10                                                          Cal. Dec. 4, 2019)
11    Chris         $950.00      2022     $978.50           Los Angeles
12    Sproul (36                                            Waterkeeper v.
13    years)                                                American Reclamation,
14                                                          et al., 21-1140, Dkts.
15                                                          45, 66 (C.D. Cal. April
16                                                          15, 2022)
17    Various       $1060.00     2020     $1,158.29         Marshall v. Northrop
18    (25+ years)                                           Grumman Corp., No.
19                                                          16-6794, 2020 U.S.
20                                                          Dist. LEXIS 177056
21                                                          (C.D. Cal. Sep. 18,
22                                                          2020)
23    Sharon D.     $895.50      2020     $978.54           Wb Music Corp. v.
24    Mayo (30                                              Royce Int'l Broad.
25    years)                                                Corp., No. 16-600,
26                                                          2021 U.S. Dist. LEXIS
27                                                          193603 (C.D. Cal. May
28                                                          7, 2021)

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1      Sharon D.       $976.50       2021       $1,035.97         Wb Music Corp. v.
2      Mayo (31                                                   Royce Int'l Broad.
3      years)                                                     Corp., No. 16-600,
4                                                                 2021 U.S. Dist. LEXIS
5                                                                 193603 (C.D. Cal. May
6                                                                 7, 2021)
7      Christopher $895.00           2020       $977.99           Wishtoyo Found. v.
8      Sproul (34                                                 United Water
9      years)                                                     Conservation Dist., No.
10                                                                19-55380, Dkt. 65 (9th
11                                                                Cir. Nov. 16, 2020)
12             25.   The 15 additional data points in the chart below further support the
13    reasonableness of my rate of $995 per hour. The attorneys in these cases all had
14    between 9 and 24 years less experience than me, and the Courts found that rates
15    exceeding my rate of $995 per hour were reasonable for those attorneys, after
16    conservatively correcting for inflation. Indeed, the Courts found rates exceeding my
17    rate, even without correcting for inflation at all, reasonable for attorneys with as
18    many as 17 years less experience, in other words just over half as much experience,
19    as me.
20     Name of         Hourly        Year Hourly Rate          Case Citation
21     Attorney        Rate          of     Conservatively
22     and Years       Found         Rate Adjusted for
23     of              Reasonable           Inflation (3%
24     Experience                           per year) to
25     When                                 2023
26     Requesting
27     Rate
28

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1     Matthew J.    $950.00      2020 $1,038.09       Alikhan v. Goodrich
2     Matern (28                                      Corp., No. 17-6756, 2020
3     years)                                          U.S. Dist. LEXIS 155169
4                                                     (C.D. Cal. June 25, 2020)
5     Felicia       $950.00      2020 $1,038.09       Chen v. W. Dig. Corp., No.
6     Medina (14                                      19-00909, 2021 U.S. Dist.
7     years)                                          LEXIS 6728 (C.D. Cal.
8                                                     Jan. 5, 2021)
9     Charles       $950.00      2020 $1,038.09       Chen v. W. Dig. Corp., No.
10    Field (23                                       19-00909, 2021 U.S. Dist.
11    years)                                          LEXIS 6728 (C.D. Cal.
12                                                    Jan. 5, 2021)
13    David         $1,200.00    2020 $1,311.27       Chen v. W. Dig. Corp., No.
14    Sanford (23                                     19-00909, 2021 U.S. Dist.
15    years)                                          LEXIS 6728 (C.D. Cal.
16                                                    Jan. 5, 2021)
17    Kevin         $1,000.00    2020 $1,092.73       Chen v. W. Dig. Corp., No.
18    Sharp (27                                       19-00909, 2021 U.S. Dist.
19    years)                                          LEXIS 6728 (C.D. Cal.
20                                                    Jan. 5, 2021)
21    Matthew J.    $950.00      2020 $1,038.09       Fan v. Delta Air Lines, No.
22    Matern (28                                      19-04599, 2020 U.S. Dist.
23    years)                                          LEXIS 157480 (C.D. Cal.
24                                                    May 20, 2020)
25    Heather       $1,000.00    2022 $1,030.00       Hope Med. Enters. v.
26    Banuelos                                        Fagrgon Compounding
27    (22 years)                                      Serv., LLC, No. 19-07748,
28                                                    2022 U.S. Dist. LEXIS

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1                                                     49151 (C.D. Cal. Mar. 14,
2                                                     2022)
3
4
5     Anne          $1,005.00    2022 $1,035.15       Hope Med. Enters. v.
6     Voigts (20                                      Fagrgon Compounding
7     years)                                          Serv., LLC, No. 19-07748,
8                                                     2022 U.S. Dist. LEXIS
9                                                     49151 (C.D. Cal. Mar. 14,
10                                                    2022)
11    Various       $950.00      2020 $1,038.09       Marshall v. Northrop
12    (15-24                                          Grumman Corp., No. 16-
13    years)                                          6794, 2020 U.S. Dist.
14                                                    LEXIS 177056 (C.D. Cal.
15                                                    Sep. 18, 2020)
16    Edward        $925.00      2018 $1,072.33       McAllister v. St. Louis
17    Moss (13                                        Rams, LLC, No. 17-157,
18    years)                                          2018 U.S. Dist. LEXIS
19                                                    227704 (C.D. Cal. July 2,
20                                                    2018)
21    Edward        $975.00      2018 $1,130.29       McAllister v. St. Louis
22    Moss (14                                        Rams, LLC, No. 17-157,
23    years)                                          2018 U.S. Dist. LEXIS
24                                                    227704 (C.D. Cal. July 2,
25                                                    2018)
26
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      DECLARATION OF CHRISTOPHER SPROUL    15      Case No. 8:18-cv-00333 DOC (DFM)
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1      Andrew          $975.00       2021 $1,034.38           Relman Colfax Pllc v. Fair
2      Soukup (13                                             Hous. Council of San
3      years)                                                 Fernando Valley, No. 19-
4                                                             8612, 2021 U.S. Dist.
5                                                             LEXIS 93147 (C.D. Cal.
6                                                             Mar. 16, 2021)
7      Benjamin        $1,130.00     2020 $1,234.78           Relman Colfax Pllc v. Fair
8      Razi (20                                               Hous. Council of San
9      years)                                                 Fernando Valley, No. 19-
10                                                            8612, 2021 U.S. Dist.
11                                                            LEXIS 93147 (C.D. Cal.
12                                                            Mar. 16, 2021)
13     Benjamin        $1,170.00     2021 $1,241.25           Relman Colfax Pllc v. Fair
14     Razi (21                                               Hous. Council of San
15     years)                                                 Fernando Valley, No. 19-
16                                                            8612, 2021 U.S. Dist.
17                                                            LEXIS 93147 (C.D. Cal.
18                                                            Mar. 16, 2021)
19     Kristin A.      $1,150.00     2021 $1,220.04           Woodhouse v. United
20     Linsley (28                                            States Gov’t, No. 21-
21     years)                                                 06372, 2021 U.S. Dist.
22                                                            LEXIS 249920 (C.D. Cal.
23                                                            Dec. 31, 2021)
24          26.      Furthermore, I have reviewed the rates that my co-counsel in this
25    matter at Morrison & Foerster LLP charge and are paid by paying clients in the
26    Central District of California and note that their rates are well above my rate, even
27    for attorneys with much less experience than me--as documented by the
28    accompanying declaration of William Frentzen, my co-counsel in this case who has

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1     10 years less experience than me and is charging $1500 per hour as a 2023 market
2     rate. This is further support for the reasonableness of my rate, and indeed of a
3     potentially much higher rate, for my work. See, e.g., Welch v. Metro. Life Ins. Co.,
4     480 F.3d 942, 946 (9th Cir. 2007) (“billing rates should be established by reference
5     to the fees that private attorneys of an ability and reputation comparable to that of
6     prevailing counsel charge their paying clients for legal work of similar
7     complexity.”) (citations and internal punctuation omitted). Also, given that this
8     applies across the board to attorneys of all experience levels addressed in this
9     Declaration, the rates charged and paid by paying clients in the Central District of
10    California to co-counsel at Morrison & Foerster LLP support the reasonableness of
11    the other attorneys’ hourly rates addressed in this Declaration as well. See id.
12       IV.      Brian Orion’s Reasonable 2023 Hourly Rate For Attorney Work.
13          27.     Brian Orion has 18 years of experience as of the time this Motion is
14    filed. I have worked closely with Mr. Orion in a supervisory relationship since 2008.
15    Based on my years of experience working with him, I am well aware that his work
16    is of excellent quality and he has extensive expertise in environmental citizen suit
17    litigation—as is further reflected in his declaration in support of this Motion. I am
18    further aware from talking with colleagues that Mr. Orion enjoys a reputation for
19    environmental citizen suit expertise, as reflected in numerous successful citizen suit
20    case outcomes. As his supervisor, I have set Mr. Orion’s hourly rate at $855 per
21    hour as an appropriate 2023 rate to claim in the Los Angeles/Orange County area
22    legal market for an attorney of his level of skill, years of experience, and reputation
23    for environmental law expertise. This rate is commensurate with, even lower than,
24    rates found reasonable in Central District of California attorneys’ fee award
25    decisions for attorneys with his level of skill, experience, and reputation working on
26    cases involving complex civil litigation. In evaluating these hourly rates, I have
27    reviewed market data and attorney fee awards in cases decided over the past several
28

      DECLARATION OF CHRISTOPHER SPROUL           17       Case No. 8:18-cv-00333 DOC (DFM)
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1     years involving various types of complex civil litigation in the U.S. District Court
2     for the Central District of California, which are described below.
3             28.   In the chart below, I have set forth the rates that the Court found
4     reasonable in the representative Central District of California cases that I have relied
5     on as support for Mr. Orion’s hourly rate and then what those rates would be as an
6     inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a very
7     conservative 3% per year inflation value that likely underestimates actual attorney
8     fee inflation over the relevant period). The average of these historical rates is
9     $882.11 per hour, before correcting for inflation. Utilizing a 3% per year inflation
10    adjustment, the average of the attorney hourly rates from the cases below is $958.33
11    per hour. These figures are notably well above Ms. Orion’s rate of $855 per hour
12    ($27.11 over for the unadjusted figure and $103.33 over for the adjusted figure).
13    Given that his $855 per hour rate is below these figures, his rate is not only
14    reasonable, it is in my opinion even markedly less than the prevailing market rate in
15    2023 for an attorney of his experience, skill, and reputation in the Central District of
16    California.
17     Name of        Hourly        Year      Hourly Rate        Case Citation
18     Attorney       Rate          of        Conservatively
19     and Years      Found         Rate      Adjusted for
20     of             Reasonable              Inflation (3%
21     Experience                             per year) to
22     When                                   2023
23     Requesting
24     Rate
25     Jesus E.       $845.00       2020      $923.85            125916 Ont. Ltd. v.
26     Cuza (20                                                  Kagan, No. 20-02630,
27     years)                                                    2020 U.S. Dist. LEXIS
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1                                                       227111 (C.D. Cal. Nov.
2                                                       16, 2020)
3
4     Michael       $790.00      2018     $915.83       3M Co. v. Phx. Auto.
5     Kahn (16                                          Refinishing Co., No. 17-
6     years)                                            00649, 2018 U.S. Dist.
7                                                       LEXIS 70589 (C.D. Cal.
8                                                       Apr. 25, 2018)
9     Andrew        $850.00      2020     $928.82       Alikhan v. Goodrich
10    Sokolowski                                        Corp., No. 17-6756, 2020
11    (17 years)                                        U.S. Dist. LEXIS 155169
12                                                      (C.D. Cal. June 25, 2020)
13    Launa         $850.00      2020     $928.82       Alikhan v. Goodrich
14    Adolf (17                                         Corp., No. 17-6756, 2020
15    years)                                            U.S. Dist. LEXIS 155169
16                                                      (C.D. Cal. June 25, 2020)
17    Max Sloves $675.00         2020     $737.59       Alikhan v. Goodrich
18    (19 years)                                        Corp., No. 17-6756, 2020
19                                                      U.S. Dist. LEXIS 155169
20                                                      (C.D. Cal. June 25, 2020)
21    Michael       $850.00      2020     $928.82       Chen v. W. Dig.
22    Palmer (15                                        Corp., No. 19-00909,
23    years)                                            2021 U.S. Dist. LEXIS
24                                                      6728 (C.D. Cal. Jan. 5,
25                                                      2021)
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      DECLARATION OF CHRISTOPHER SPROUL      19     Case No. 8:18-cv-00333 DOC (DFM)
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1     Andrew        $850.00      2020     $928.82         Chen v. W. Dig.
2     Melzer (16                                          Corp., No. 19-00909,
3     years)                                              2021 U.S. Dist. LEXIS
4                                                         6728 (C.D. Cal. Jan. 5,
5                                                         2021)
6     Launa         $750.00      2018     $808.55         Edwards v. Chartwell
7     Adolph (15                                          Staffing Servs., No. 16-
8     years)                                              9187, 2018 U.S. Dist.
9                                                         LEXIS 234700 (C.D. Cal.
10                                                        Aug. 27, 2018)
11    Eileen        $860.00      2020     $923.35         Fan v. Delta Air
12    Goldsmith                                           Lines, No. 19-04599,
13    (20 years)                                          2020 U.S. Dist. LEXIS
14                                                        157480 (C.D. Cal. May
15                                                        20, 2020)
16    John          $785.00      2022     $869.46         French v. City of L.A., No.
17    Fattahi (15                                         20-00416, 2022 U.S. Dist.
18    years)                                              LEXIS 111194 (C.D. Cal.
19                                                        May 10, 2022)
20    Anne          $1,005.00    2022     $1,035.15       Hope Med. Enters. v.
21    Voigts (20                                          Fagrgon Compounding
22    years)                                              Serv., LLC, No. 19-07748,
23                                                        2022 U.S. Dist. LEXIS
24                                                        49151 (C.D. Cal. Mar. 14,
25                                                        2022)
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      DECLARATION OF CHRISTOPHER SPROUL      20       Case No. 8:18-cv-00333 DOC (DFM)
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1     Lisa Dwyer $1,040.00       2022     $1,071.20       Hope Med. Enters. v.
2     (21 years)                                          Fagrgon Compounding
3                                                         Serv., LLC, No. 19-07748,
4                                                         2022 U.S. Dist. LEXIS
5                                                         49151 (C.D. Cal. Mar. 14,
6                                                         2022)
7     Stanislav     $775.00      2019     $872.27         Jiangchen v. Rentech,
8     Karas (17                                           Inc., No. 17-1490, 2019
9     years)                                              U.S. Dist. LEXIS 180474
10                                                        (C.D. Cal. Oct. 10, 2019)
11    Corey D.      $795.00      2019     $894.78         Jiangchen v. Rentech,
12    Holzer (21                                          Inc., No. 17-1490, 2019
13    years)                                              U.S. Dist. LEXIS 180474
14                                                        (C.D. Cal. Oct. 10, 2019)
15    Various       $950.00      2020     $1,038.09       Marshall v. Northrop
16    (15-24                                              Grumman Corp., No. 16-
17    years)                                              6794, 2020 U.S. Dist.
18                                                        LEXIS 177056 (C.D. Cal.
19                                                        Sep. 18, 2020)
20    Ryan          $875.00      2020     $956.14         Relman Colfax Pllc v.
21    Weinstein                                           Fair Hous. Council of San
22    (15 years)                                          Fernando Valley, No. 19-
23                                                        8612, 2021 U.S. Dist.
24                                                        LEXIS 93147 (C.D. Cal.
25                                                        Mar. 16, 2021)
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      DECLARATION OF CHRISTOPHER SPROUL      21       Case No. 8:18-cv-00333 DOC (DFM)
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1      Ryan           $915.00       2021     $970.72            Relman Colfax Pllc v.
2      Weinstein                                                Fair Hous. Council of San
3      (16 years)                                               Fernando Valley, No. 19-
4                                                               8612, 2021 U.S. Dist.
5                                                               LEXIS 93147 (C.D. Cal.
6                                                               Mar. 16, 2021)
7      Benjamin       $1,130.00     2020     $1,234.78          Relman Colfax Pllc v.
8      Razi (20                                                 Fair Hous. Council of San
9      years)                                                   Fernando Valley, No. 19-
10                                                              8612, 2021 U.S. Dist.
11                                                              LEXIS 93147 (C.D. Cal.
12                                                              Mar. 16, 2021)
13     Benjamin       $1,170.00     2021     $1,241.25          Relman Colfax Pllc v.
14     Razi (21                                                 Fair Hous. Council of San
15     years)                                                   Fernando Valley, No. 19-
16                                                              8612, 2021 U.S. Dist.
17                                                              LEXIS 93147 (C.D. Cal.
18                                                              Mar. 16, 2021)
19            29.   The 14 additional data points in the chart below further support the
20    reasonableness of Mr. Orion’s rate of $855 per hour. The attorneys in these cases
21    had between 4 and 15 years less experience than Mr. Orion, and the Courts found
22    that rates exceeding his rate of $855 per hour were reasonable for those attorneys,
23    after conservatively correcting for inflation. Indeed, the Courts found rates
24    exceeding Mr. Orion’s rate, even without correcting for inflation at all, reasonable
25    for attorneys with as many as 13 years less experience.
26
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      DECLARATION OF CHRISTOPHER SPROUL          22        Case No. 8:18-cv-00333 DOC (DFM)
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1     Name of       Hourly       Year     Hourly Rate        Case Citation
2     Attorney      Rate         of       Conservatively
3     and Years     Found        Rate     Adjusted for
4     of            Reasonable            Inflation (3%
5     Experience                          per year) to
6     When                                2023
7     Requesting
8     Rate
9     Stephanie     $770.00      2018     $892.64            McAllister v. St. Louis
10    Drotar (3                                              Rams, LLC, No. 17-157,
11    years)                                                 2018 U.S. Dist. LEXIS
12                                                           227704 (C.D. Cal. July 2,
13                                                           2018)
14    Yungmoon      $876.00      2021     $929.35            Aecom Energy & Constr.,
15    Chang (5                                               Inc. v. Topolewski, No.
16    years)                                                 17-5398, 2022 U.S. Dist.
17                                                           LEXIS 84689 (C.D. Cal.
18                                                           May 9, 2022)
19    Russell       $850.00      2020     $928.82            Chen v. W. Dig.
20    Kornblith                                              Corp., No. 19-00909,
21    (7 years)                                              2021 U.S. Dist. LEXIS
22                                                           6728 (C.D. Cal. Jan. 5,
23                                                           2021)
24    Matthew       $875.00      2018     $1,014.36          McAllister v. St. Louis
25    Murphy (8                                              Rams, LLC, No. 17-157,
26    years)                                                 2018 U.S. Dist. LEXIS
27                                                           227704 (C.D. Cal. July 2,
28                                                           2018)

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1     Felicia       $800.00      2020     $874.18         Chen v. W. Dig.
2     Gilbert (9                                          Corp., No. 19-00909,
3     years)                                              2021 U.S. Dist. LEXIS
4                                                         6728 (C.D. Cal. Jan. 5,
5                                                         2021)
6     Eric Brown $825.00         2020     $901.50         Fan v. Delta Air
7     (12 years)                                          Lines, No. 19-04599, 2020
8                                                         U.S. Dist. LEXIS 157480
9                                                         (C.D. Cal. May 20, 2020)
10    Andrew        $935.00      2020     $1,021.70       Relman Colfax Pllc v.
11    Soukup (12                                          Fair Hous. Council of San
12    years)                                              Fernando Valley, No. 19-
13                                                        8612, 2021 U.S. Dist.
14                                                        LEXIS 93147 (C.D. Cal.
15                                                        Mar. 16, 2021)
16    Jackson       $740.00      2018     $857.86         WB Music Corp. v. Royce
17    Wagener                                             Int'l Broad. Corp., No. 16-
18    (13 years)                                          600, 2018 U.S. Dist.
19                                                        LEXIS 227743 (C.D. Cal.
20                                                        July 9, 2018)
21    Jackson       $740.00      2018     $857.86         WB Music Corp. v. Royce
22    Wagener                                             Int'l Broad. Corp., No. 16-
23    (13 years)                                          600, 2020 U.S. Dist.
24                                                        LEXIS 247679 (C.D. Cal.
25                                                        Nov. 20, 2020)
26
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      DECLARATION OF CHRISTOPHER SPROUL       24      Case No. 8:18-cv-00333 DOC (DFM)
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1      Andrew           $872.00       2020     $952.86           Laub v.
2      Ditchfield                                                Horbaczewski, No. 17-
3      (13 years)                                                6210, 2020 U.S. Dist.
4                                                                LEXIS 259004 (C.D. Cal.
5                                                                Nov. 23, 2020)
6      Andrew           $975.00       2021     $1,034.38         Relman Colfax Pllc v. Fair
7      Soukup (13                                                Hous. Council of San
8      years)                                                    Fernando Valley, No. 19-
9                                                                8612, 2021 U.S. Dist. LEXIS
10                                                               93147 (C.D. Cal. Mar. 16,
11                                                               2021)
12     Felicia          $950.00       2020     $1,038.09         Chen v. W. Dig.
13     Medina (14                                                Corp., No. 19-00909,
14     years)                                                    2021 U.S. Dist. LEXIS
15                                                               6728 (C.D. Cal. Jan. 5,
16                                                               2021)
17     Edward           $975.00       2018     $1,130.29         McAllister v. St. Louis
18     Moss (14                                                  Rams, LLC, No. 17-157,
19     years)                                                    2018 U.S. Dist. LEXIS
20                                                               227704 (C.D. Cal. July 2,
21                                                               2018)
22       V.         Jason Flanders’ Reasonable 2023 Hourly Rate For Attorney Work.
23            30.     Jason Flanders has 18 years of experience as of the time this Motion is
24    filed, the same amount of experience as Mr. Orion, discussed above. I have worked
25    closely with Mr. Flanders as co-counsel on numerous matters for over a decade.
26    Based on my years of experience working with him, I am well aware that his work
27    is of excellent quality and he has extensive expertise in environmental citizen suit
28    litigation—as is further reflected in his declaration in support of this Motion. I am

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1     further aware from talking with colleagues that Mr. Flanders enjoys a reputation for
2     environmental citizen suit expertise, as reflected in numerous successful citizen suit
3     case outcomes. I am aware that Mr. Flanders’ firm Aqua Terra Aeris Law Group has
4     set his 2023 rate for the Los Angeles/Orange County area legal market at $855 per
5     hour. As with Mr. Orion, who has the same amount of experience, it is my opinion
6     that Mr. Flanders’ hourly rate of $855 per hour is an appropriate 2023 rate to claim
7     in the Los Angeles/Orange County area legal market for an attorney of his level of
8     skill, years of experience, and reputation for environmental law expertise. As
9     discussed above with regard to Mr. Orion, this rate is commensurate with, even
10    lower than, rates found reasonable in Central District of California attorneys’ fee
11    award decisions for attorneys with his level of skill, experience, and reputation
12    working on cases involving complex civil litigation. In evaluating these hourly rates,
13    I have reviewed the same market data and attorney fee awards in cases decided over
14    the past several years involving various types of complex civil litigation in the
15    Central District of California that I reviewed in setting Mr. Orion’s rate. These data
16    points provide the same support for Mr. Flanders’ rate as they do for Mr. Orion’s
17    rate, and I incorporate that analysis and the case citations in support here rather than
18    restating them.
19       VI.      Stuart Wilcox’s Reasonable 2023 Hourly Rate For Attorney Work.
20          31.     Stuart Wilcox has 11 years of experience as of the time this Motion is
21    filed. I have worked closely with Mr. Wilcox in a supervisory relationship for a total
22    of over 4.5 years, starting in March 2019. Based on my years of experience working
23    with him, I am well aware that his work is of excellent quality and he has extensive
24    expertise in environmental citizen suit litigation—as is further reflected in his
25    declaration in support of this Motion. I am further aware from talking with
26    colleagues that Mr. Wilcox enjoys a reputation for environmental citizen suit
27    expertise, as reflected in numerous successful citizen suit case outcomes. As his
28    supervisor, I have set Mr. Wilcox’s hourly rate at $775 per hour as an appropriate

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1     2023 rate to claim in the Los Angeles/Orange County area legal market for an
2     attorney of his level of skill, years of experience, and reputation for environmental
3     law expertise. This rate is commensurate with, even lower than, rates found
4     reasonable in Central District of California attorneys’ fee award decisions for
5     attorneys with his level of skill, experience, and reputation working on cases
6     involving complex civil litigation. In evaluating his hourly rate, I have reviewed
7     market data and attorney fee awards in cases decided over the past several years
8     involving various types of complex civil litigation in the U.S. District Court for the
9     Central District of California, which are described below.
10          32.    In the chart below, I have set forth the rates that the Court found
11    reasonable in the representative Central District of California cases that I have relied
12    on as support for Mr. Wilcox’s hourly rate and then what those rates would be as an
13    inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a very
14    conservative 3% per year inflation value that likely underestimates actual attorney
15    fee inflation over the relevant period). The average of these historical rates is
16    $741.85 per hour, before correcting for inflation. Utilizing a 3% per year inflation
17    adjustment, the average of the attorney hourly rates from the cases below is $809.86
18    per hour. Mr. Wilcox’s rate of $775 per hour is approximately right between these
19    two figures ($33.15 above the unadjusted figure and $34.86 below the
20    conservatively adjusted figure). Given the relationship of Mr. Wilcox’s rate of $775
21    per hour to these figures, it is in my opinion that his rate represents a reasonable,
22    well supported (even conservative) prevailing market rate in 2023 for an attorney of
23    his experience, skill, and reputation in the Central District of California.
24     Name of         Hourly         Year Hourly Rate           Case Citation
25     Attorney        Rate           of      Conservatively
26     and Years of Found             Rate Adjusted for
27     Experience      Reasonable             Inflation (3%
28     When

      DECLARATION OF CHRISTOPHER SPROUL           27        Case No. 8:18-cv-00333 DOC (DFM)
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1     Requesting                          per year) to
2     Rate                                2023
3     Rebecca J.      $625.00      2020 $682.95              125916 Ont. Ltd. v.
4     Canamero                                               Kagan, No. 20-02630,
5     (10 Years)                                             2020 U.S. Dist. LEXIS
6                                                            227111 (C.D. Cal. Nov.
7                                                            16, 2020)
8     Robert          $775.00      2020 $846.86              125916 Ont. Ltd. v.
9     Barton (11                                             Kagan, No. 20-02630,
10    years)                                                 2020 U.S. Dist. LEXIS
11                                                           227111 (C.D. Cal. Nov.
12                                                           16, 2020)
13    Dylan Price     $685.00      2019 $770.97              Abbas v. Vertical Entm't,
14    (11 years)                                             LLC, No. 18-7399, 2019
15                                                           U.S. Dist. LEXIS 181056
16                                                           (C.D. Cal. Oct. 18, 2019)
17    Tagore O.       $675.00      2020 $737.59              Alikhan v. Goodrich
18    Subramaniam                                            Corp., No. 17-6756,
19    (9 years)                                              2020 U.S. Dist. LEXIS
20                                                           155169 (C.D. Cal. June
21                                                           25, 2020)
22    Dalia Khalili   $775.00      2020 $846.86              Alikhan v. Goodrich
23    (13 years)                                             Corp., No. 17-6756,
24                                                           2020 U.S. Dist. LEXIS
25                                                           155169 (C.D. Cal. June
26                                                           25, 2020)
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1     Felicia         $800.00      2020 $874.18        Chen v. W. Dig.
2     Gilbert (9                                       Corp., No. 19-00909,
3     years)                                           2021 U.S. Dist. LEXIS
4                                                      6728 (C.D. Cal. Jan. 5,
5                                                      2021)
6     Xinying         $750.00      2020 $819.55        Chen v. W. Dig.
7     Valerian (13                                     Corp., No. 19-00909,
8     years)                                           2021 U.S. Dist. LEXIS
9                                                      6728 (C.D. Cal. Jan. 5,
10                                                     2021)
11    Matthew W.      $725.00      2020 $792.23        Fan v. Delta Air
12    Gordon (11                                       Lines, No. 19-04599,
13    years)                                           2020 U.S. Dist. LEXIS
14                                                     157480 (C.D. Cal. May
15                                                     20, 2020)
16    Eric Brown      $825.00      2020 $901.50        Fan v. Delta Air
17    (12 years)                                       Lines, No. 19-04599,
18                                                     2020 U.S. Dist. LEXIS
19                                                     157480 (C.D. Cal. May
20                                                     20, 2020)
21    Eric            $700.00      2022 $721.00        French v. City of
22    Valenzuela                                       L.A., No. 20-00416, 2022
23    (9 years)                                        U.S. Dist. LEXIS 111194
24                                                     (C.D. Cal. May 10, 2022)
25    Renee V.        $600.00      2022 $618.00        French v. City of
26    Masongsong                                       L.A., No. 20-00416, 2022
27    (10 Years)                                       U.S. Dist. LEXIS 111194
28                                                     (C.D. Cal. May 10, 2022)

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1     Robert          $750.00      2019 $844.13        Jiangchen v. Rentech,
2     Prongay (9                                       Inc., No. 17-1490, 2019
3     years)                                           U.S. Dist. LEXIS 180474
4                                                      (C.D. Cal. Oct. 10, 2019)
5     Marshall P.     $675.00      2019 $759.72        Jiangchen v. Rentech,
6     Dees (13                                         Inc., No. 17-1490, 2019
7     years)                                           U.S. Dist. LEXIS 180474
8                                                      (C.D. Cal. Oct. 10, 2019)
9     Rachel E.       $730.00      2021 $774.46        Judson v. Goldco Direct,
10    Kaufman (10                                      LLC, No. 19-6798, 2021
11    Years)                                           U.S. Dist. LEXIS 258173
12                                                     (C.D. Cal. June 11, 2021)
13    Avi R.          $800.00      2021 $848.72        Judson v. Goldco Direct,
14    Kaufman (11                                      LLC, No. 19-6798, 2021
15    years)                                           U.S. Dist. LEXIS 258173
16                                                     (C.D. Cal. June 11, 2021)
17    Stefan          $730.00      2021 $774.46        Judson v. Goldco Direct,
18    Coleman (13                                      LLC, No. 19-6798, 2021
19    years)                                           U.S. Dist. LEXIS 258173
20                                                     (C.D. Cal. June 11, 2021)
21    Andrew          $872.00      2020 $952.86        Laub v.
22    Ditchfield                                       Horbaczewski, No. 17-
23    (13 years)                                       6210, 2020 U.S. Dist.
24                                                     LEXIS 259004 (C.D.
25                                                     Cal. Nov. 23, 2020)
26    Stuart          $675.00      2022 $695.25        Los Angeles Waterkeeper
27    Wilcox (10                                       v. American
28    Years)                                           Reclamation, et al., 21-

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1                                                       1140, Dkt. 45 (C.D. Cal.
2                                                       April 15, 2022)
3     Andrew          $935.00      2020 $1,021.70       Relman Colfax Pllc v.
4     Soukup (12                                        Fair Hous. Council of
5     years)                                            San Fernando Valley,
6                                                       No. 19-8612, 2021 U.S.
7                                                       Dist. LEXIS 93147 (C.D.
8                                                       Cal. Mar. 16, 2021)
9     Andrew          $975.00      2021 $1,034.38       Relman Colfax Pllc v.
10    Soukup (13                                        Fair Hous. Council of
11    years)                                            San Fernando Valley,
12                                                      No. 19-8612, 2021 U.S.
13                                                      Dist. LEXIS 93147 (C.D.
14                                                      Cal. Mar. 16, 2021)
15    Amie Medley $607.50          2018 $704.26         WB Music Corp. v.
16    (9 years)                                         Royce Int'l Broad. Corp.,
17                                                      No. 16-600, 2018 U.S.
18                                                      Dist. LEXIS 227743
19                                                      (C.D. Cal. July 9, 2018)
20    Jackson         $740.00      2018 $857.86         WB Music Corp. v.
21    Wagener (13                                       Royce Int'l Broad. Corp.,
22    years)                                            No. 16-600, 2018 U.S.
23                                                      Dist. LEXIS 227743
24                                                      (C.D. Cal. July 9, 2018)
25    Jackson         $740.00      2018 $857.86         WB Music Corp. v.
26    Wagener (13                                       Royce Int'l Broad.
27    years)                                            Corp., No. 16-600, 2020
28                                                      U.S. Dist. LEXIS 247679

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1                                                                (C.D. Cal. Nov. 20,
2                                                                2020)
3      Jason Weiner $640.00            2020 $699.35              Wishtoyo Found. v.
4      (12 years)                                                United Water
5                                                                Conservation Dist., No.
6                                                                19-55380 (9th Cir. Nov.
7                                                                16, 2020)
8             33.    The 9 additional data points in the chart below further support the
9     reasonableness of Mr. Wilcox’s rate of $775 per hour. The attorneys in these cases
10    had between 4 and 8 years less experience than Mr. Wilcox, and the Courts found
11    that rates exceeding his rate of $775 per hour were reasonable for those attorneys,
12    after conservatively correcting for inflation. Indeed, the Courts found rates
13    exceeding Mr. Wilcox’s rate, even without correcting for inflation at all, reasonable
14    for attorneys with as many as 6 years less experience (i.e. less than half as much
15    experience).
16     Name of         Hourly        Year Hourly Rate          Case Citation
17     Attorney        Rate          of     Conservatively
18     and Years       Found         Rate Adjusted for
19     of              Reasonable           Inflation (3%
20     Experience                           per year) to
21     When                                 2023
22     Requesting
23     Rate
24     Yungmoon        $876.00       2021 $929.35              Aecom Energy & Constr.,
25     Chang (5                                                Inc. v. Topolewski, No. 17-
26     years)                                                  5398, 2022 U.S. Dist.
27                                                             LEXIS 84689 (C.D. Cal.
28                                                             May 9, 2022)

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1     Danielle       $750.00     2020 $819.55        Chen v. W. Dig. Corp., No.
2     Fuschetti (7                                   19-00909-JLS-DFM, 2021
3     years)                                         U.S. Dist. LEXIS 6728
4                                                    (C.D. Cal. Jan. 5, 2021)
5     Russell        $850.00     2020 $928.82        Chen v. W. Dig. Corp., No.
6     Kornblith                                      19-00909-JLS-DFM, 2021
7     (7 years)                                      U.S. Dist. LEXIS 6728
8                                                    (C.D. Cal. Jan. 5, 2021)
9     Evan           $710.00     2019 $799.11        Homegoods, Inc. v.
10    Woolley (7                                     Papanicolaou, No. 19-
11    years)                                         06912, 2019 U.S. Dist.
12                                                   LEXIS 221967 (C.D. Cal.
13                                                   Dec. 4, 2019)
14    Stephanie      $770.00     2018 $892.64        McAllister v. St. Louis
15    Drotar (3                                      Rams, LLC, No. 17-157,
16    years)                                         2018 U.S. Dist. LEXIS
17                                                   227704 (C.D. Cal. July 2,
18                                                   2018)
19    Nora Kahn      $720.00     2018 $834.68        McAllister v. St. Louis
20    (4 years)                                      Rams, LLC, No. 17-157,
21                                                   2018 U.S. Dist. LEXIS
22                                                   227704 (C.D. Cal. July 2,
23                                                   2018)
24    Steven         $715.00     2020 $781.30        Relman Colfax Pllc v. Fair
25    Winkelman                                      Hous. Council of San
26    (5 years)                                      Fernando Valley, No. 19-
27                                                   8612, 2021 U.S. Dist.
28

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1                                                             LEXIS 93147 (C.D. Cal.
2                                                             Mar. 16, 2021)
3      Kathryn        $702.00       2018 $813.81              WB Music Corp. v. Royce
4      Hutchinson                                             Int'l Broad. Corp., No. 16-
5      (7 years)                                              600, 2018 U.S. Dist.
6                                                             LEXIS 227743 (C.D. Cal.
7                                                             July 9, 2018)
8      Kathryn W. $702.00           2018 $813.81              WB Music Corp. v. Royce
9      Hutchinson                                             Int'l Broad. Corp., No. 16-
10     (7 years)                                              600, 2020 U.S. Dist.
11                                                            LEXIS 247679 (C.D. Cal.
12                                                            Nov. 20, 2020)
13       VII. Marla Fox’s Reasonable 2023 Hourly Rate For Attorney Work.
14          34.     Marla Fox has 11 years of experience as of the time this Motion is
15    filed, the same amount of experience as Mr. Wilcox, discussed above. I have
16    worked closely with Ms. Fox in a supervisory relationship for about a year and a
17    half. Based on my experience working with her, I am well aware that her work is of
18    excellent quality and she has extensive expertise in environmental citizen suit
19    litigation—as is further reflected in her declaration in support of this Motion. I am
20    further aware from talking with colleagues that Ms. Fox enjoys a reputation for
21    environmental citizen suit expertise, as reflected in numerous successful citizen suit
22    case outcomes. As her supervisor, I have set Ms. Fox’s hourly rate at $775 per hour
23    as an appropriate 2023 rate to claim in the Los Angeles/Orange County area legal
24    market for an attorney of her level of skill, years of experience, and reputation for
25    environmental law expertise. As with Mr. Wilcox, who has the same amount of
26    experience, it is my opinion that Ms. Fox’s hourly rate of $775 per hour is an
27    appropriate 2023 rate to claim in the Los Angeles/Orange County area legal market
28    for an attorney of her level of skill, years of experience, and reputation for

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1     environmental law expertise. As discussed above with regard to Mr. Wilcox, this
2     rate is commensurate with, even lower than, rates found reasonable in Central
3     District of California attorneys’ fee award decisions for attorneys with her level of
4     skill, experience, and reputation working on cases involving complex civil litigation.
5     In evaluating this hourly rate, I have reviewed the same market data and attorney fee
6     awards in cases decided over the past several years involving various types of
7     complex civil litigation in the U.S. District Court for the Central District of
8     California that I reviewed in setting Mr. Wilcox’s rate. These data points provide the
9     same support for Ms. Fox’s rate as they do for Mr. Wilcox’s rate, and I incorporate
10    that analysis and the case citations in support here rather than restating them.
11       VIII. Fredric Evenson’s Reasonable 2023 Hourly Rate For Attorney Work.
12          35.    Fredric Evenson has 25 years of experience as of the time this Motion
13    is filed. I have worked closely with Mr. Evenson as co-counsel on numerous matters
14    regularly for almost two decades. Based on my years of experience working with
15    him, I am well aware that his work is of excellent quality and he has extensive
16    expertise in environmental citizen suit litigation—as is further reflected in his
17    declaration in support of this Motion. I am further aware from talking with
18    colleagues that Mr. Evenson enjoys a reputation for environmental citizen suit
19    expertise, as reflected in numerous successful citizen suit case outcomes. I am aware
20    that Mr. Evenson has set his 2023 rate for the Los Angeles/Orange County area
21    legal market at $910 per hour. It is my opinion that Mr. Evenson’s hourly rate of
22    $910 per hour is an appropriate 2023 rate to claim in the Los Angeles/Orange
23    County area legal market for an attorney of his level of skill, years of experience,
24    and reputation for environmental law expertise. This rate is commensurate with,
25    even lower than, rates found reasonable in Central District of California attorneys’
26    fee award decisions for attorneys with his level of skill, experience, and reputation
27    working on cases involving complex civil litigation. In evaluating his hourly rate, I
28    have reviewed market data and attorney fee awards in cases decided over the past

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1     several years involving various types of complex civil litigation in the U.S. District
2     Court for the Central District of California, which are described below.
3             36.   In the chart below, I have set forth the rates that the Court found
4     reasonable in the representative Central District of California cases that support the
5     reasonableness of Mr. Evenson’s hourly rate and then what those rates would be as
6     an inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a
7     very conservative 3% per year inflation value that likely underestimates actual
8     attorney fee inflation over the relevant period). The average of these historical rates
9     is $948.98 per hour, before correcting for inflation. Utilizing a 3% per year inflation
10    adjustment, the average of the attorney hourly rates from the cases below is
11    $1,041.87 per hour. These figures are notably well above Ms. Evenson’s rate of
12    $910 per hour. Given that Mr. Evensons’ $910 per hour rate is below these figures,
13    his rate is not only reasonable, it is in my opinion even somewhat less than the
14    prevailing market rate in 2023 for an attorney of his experience, skill, and reputation
15    in the Central District of California.
16     Name of          Hourly         Year     Hourly Rate        Case Citation
17     Attorney and Rate               of       Conservatively
18     Years of         Found          Rate     Adjusted for
19     Experience       Reasonable              Inflation (3%
20     When                                     per year) to
21     Requesting                               2023
22     Rate
23     James            $775.00        2019     $872.27            Abbas v. Vertical
24     Chadwick (28                                                Entm't, LLC, No. 18-
25     years)                                                      7399, 2019 U.S. Dist.
26                                                                 LEXIS 181056 (C.D.
27                                                                 Cal. Oct. 18, 2019)
28

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1     Diana Torres    $892.00       2018   $1034.07          Aecom Energy &
2     (26 years)                                             Constr. v. Ripley, No.
3                                                            17-5398, 2018 U.S.
4                                                            Dist. LEXIS 173810
5                                                            (C.D. Cal. Oct. 9,
6                                                            2018)
7     Mikael Stahle $875.00         2020   $956.14           Alikhan v. Goodrich
8     (24 years)                                             Corp., No. 17-6756,
9                                                            2020 U.S. Dist. LEXIS
10                                                           155169 (C.D. Cal. June
11                                                           25, 2020)
12    Scott Brooks    $850.00       2020   $928.82           Alikhan v. Goodrich
13    (28 years)                                             Corp., No. 17-6756,
14                                                           2020 U.S. Dist. LEXIS
15                                                           155169 (C.D. Cal. June
16                                                           25, 2020)
17    Matthew J.      $950.00       2020   $1038.09          Alikhan v. Goodrich
18    Matern (28                                             Corp., No. 17-6756,
19    years)                                                 2020 U.S. Dist. LEXIS
20                                                           155169 (C.D. Cal. June
21                                                           25, 2020)
22    Charles Field   $950.00       2020   $1,038.09         Chen v. W. Dig.
23    (23 years)                                             Corp., No. 19-00909,
24                                                           2021 U.S. Dist. LEXIS
25                                                           6728 (C.D. Cal. Jan. 5,
26                                                           2021)
27
28

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1     David           $1,200.00     2020   $1,311.27         Chen v. W. Dig.
2     Sanford (23                                            Corp., No. 19-00909,
3     years)                                                 2021 U.S. Dist. LEXIS
4                                                            6728 (C.D. Cal. Jan. 5,
5                                                            2021)
6     Kevin Sharp     $1,000.00     2020   $1,092.73         Chen v. W. Dig.
7     (27 years)                                             Corp., No. 19-00909,
8                                                            2021 U.S. Dist. LEXIS
9                                                            6728 (C.D. Cal. Jan. 5,
10                                                           2021)
11    Matthew J       $850.00       2018   $985.38           Edwards v. Chartwell
12    Matern (26                                             Staffing Servs., No. 16-
13    years)                                                 9187, 2018 U.S. Dist.
14                                                           LEXIS 234700 (C.D.
15                                                           Cal. Aug. 27, 2018)
16    Matthew J.      $950.00       2020   $1,038.09         Fan v. Delta Air Lines,
17    Matern (28                                             No. 19-04599, 2020
18    years)                                                 U.S. Dist. LEXIS
19                                                           157480 (C.D. Cal. May
20                                                           20, 2020)
21    Scott A.        $850.00       2020   $928.82           Fan v. Delta Air Lines,
22    Brooks (28                                             No. 19-04599, 2020
23    years)                                                 U.S. Dist. LEXIS
24                                                           157480 (C.D. Cal. May
25                                                           20, 2020)
26    Heather         $1,000.00     2022   $1,030.00         Hope Med. Enters. v.
27    Banuelos (22                                           Fagrgon Compounding
28    years)                                                 Serv., LLC, No. 19-

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1                                                            07748, 2022 U.S. Dist.
2                                                            LEXIS 49151 (C.D.
3                                                            Cal. Mar. 14, 2022)
4     Aaron Craig      $1,100.00    2022   $1,133.00         Hope Med. Enters. v.
5     (23 years)                                             Fagrgon Compounding
6                                                            Serv., LLC, No. 19-
7                                                            07748, 2022 U.S. Dist.
8                                                            LEXIS 49151 (C.D.
9                                                            Cal. Mar. 14, 2022)
10    Joseph N.        $1,120.00    2022   $1,153.60         Hope Med. Enters. v.
11    Akrotirianakis                                         Fagrgon Compounding
12    (24 years)                                             Serv., LLC, No. 19-
13                                                           07748, 2022 U.S. Dist.
14                                                           LEXIS 49151 (C.D.
15                                                           Cal. Mar. 14, 2022)
16    Jeffrey          $1,295.00    2022   $1,333.85         Hope Med. Enters. v.
17    Bucholtz (26                                           Fagrgon Compounding
18    years)                                                 Serv., LLC, No. 19-
19                                                           07748, 2022 U.S. Dist.
20                                                           LEXIS 49151 (C.D.
21                                                           Cal. Mar. 14, 2022)
22    Ex Kano          $850.00      2019   $956.68           Jiangchen v. Rentech,
23    Sams (22                                               Inc., No. 17-1490,
24    years)                                                 2019 U.S. Dist. LEXIS
25                                                           180474 (C.D. Cal. Oct.
26                                                           10, 2019)
27
28

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1     Joseph Cohen $935.00          2019   $1,052.35         Jiangchen v. Rentech,
2     (28 years)                                             Inc., No. 17-1490,
3                                                            2019 U.S. Dist. LEXIS
4                                                            180474 (C.D. Cal. Oct.
5                                                            10, 2019)
6     Various (25+    $1,060.00     2020   $1,158.29         Marshall v. Northrop
7     years)                                                 Grumman Corp., No.
8                                                            16-6794, 2020 U.S.
9                                                            Dist. LEXIS 177056
10                                                           (C.D. Cal. Sep. 18,
11                                                           2020)
12    Sharon D.       $742.50       2016   $913.18           WB Music Corp. v.
13    Mayo (26                                               Royce Int'l Broad.
14    years)                                                 Corp., No. 16-600,
15                                                           2020 U.S. Dist. LEXIS
16                                                           247679 (C.D. Cal.
17                                                           Nov. 20, 2020)
18    Sharon D.       $778.50       2017   $929.57           WB Music Corp. v.
19    Mayo (27                                               Royce Int'l Broad.
20    years)                                                 Corp., No. 16-600,
21                                                           2020 U.S. Dist. LEXIS
22                                                           247679 (C.D. Cal.
23                                                           Nov. 20, 2020)
24    Sharon D.       $778.50       2018   $902.49           WB Music Corp. v.
25    Mayo (28                                               Royce Int'l Broad.
26    years)                                                 Corp., No. 16-600,
27                                                           2020 U.S. Dist. LEXIS
28

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1                                                                     247679 (C.D. Cal.
2                                                                     Nov. 20, 2020)
3      John Buse (28 $875.00              2020     $956.14            Wishtoyo Found. v.
4      years)                                                         United Water
5                                                                     Conservation Dist., No.
6                                                                     19-55380 (9th Cir.
7                                                                     Nov. 16, 2020)
8      Kristin A.        $1,150.00        2021     $1,220.04          Woodhouse v. United
9      Linsley (28                                                    States Gov't, No. 21-
10     years)                                                         06372, 2021 U.S. Dist.
11                                                                    LEXIS 249920 (C.D.
12                                                                    Cal. Dec. 31, 2021)
13            37.    The 21 additional data points in the chart below further support the
14    reasonableness of Mr. Evenson’s rate of $910 per hour. The attorneys in these cases
15    had between 4 and 20 years less experience than Mr. Evenson, and the Courts found
16    that rates exceeding his rate of $910 per hour were reasonable for those attorneys,
17    after conservatively correcting for inflation. Indeed, the Courts found rates
18    exceeding Mr. Evenson’s rate, even without correcting for inflation at all,
19    reasonable for attorneys with as many as 13 years less experience (i.e. less than half
20    of his experience).
21     Name of         Hourly        Year        Hourly Rate        Case Citation
22     Attorney        Rate          of          Conservatively
23     and Years       Found         Rate        Adjusted for
24     of              Reasonable                Inflation (3%
25     Experience                                per year) to
26     When                                      2023
27     Requesting
28     Rate

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1     Yungmoon      $876.00      2021     $929.35         Aecom Energy &
2     Chang (5                                            Constr., Inc. v.
3     years)                                              Topolewski, No. 17-
4                                                         5398, 2022 U.S. Dist.
5                                                         LEXIS 84689 (C.D.
6                                                         Cal. May 9, 2022)
7     Russell       $850.00      2020     $928.82         Chen v. W. Dig.
8     Kornblith                                           Corp., No. 19-00909,
9     (7 years)                                           2021 U.S. Dist. LEXIS
10                                                        6728 (C.D. Cal. Jan. 5,
11                                                        2021)
12    Matthew       $875.00      2018     $1,014.36       McAllister v. St. Louis
13    Murphy (8                                           Rams, LLC, No. 17-157,
14    years)                                              2018 U.S. Dist. LEXIS
15                                                        227704 (C.D. Cal. July
16                                                        2, 2018)
17    Andrew        $935.00      2020     $1,021.70       Relman Colfax Pllc v.
18    Soukup (12                                          Fair Hous. Council of
19    years)                                              San Fernando Valley,
20                                                        No. 19-8612, 2021 U.S.
21                                                        Dist. LEXIS 93147
22                                                        (C.D. Cal. Mar. 16,
23                                                        2021)
24    Andrew        $872.00      2020     $952.86         Laub v.
25    Ditchfield                                          Horbaczewski, No. 17-
26    (13 years)                                          6210, 2020 U.S. Dist.
27                                                        LEXIS 259004 (C.D.
28                                                        Cal. Nov. 23, 2020)

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1     Andrew        $975.00      2021     $1,034.38       Relman Colfax Pllc v.
2     Soukup (13                                          Fair Hous. Council of
3     years)                                              San Fernando Valley,
4                                                         No. 19-8612, 2021 U.S.
5                                                         Dist. LEXIS 93147
6                                                         (C.D. Cal. Mar. 16,
7                                                         2021)
8     Felicia       $950.00      2020     $1,038.09       Chen v. W. Dig.
9     Medina (14                                          Corp., No. 19-00909,
10    years)                                              2021 U.S. Dist. LEXIS
11                                                        6728 (C.D. Cal. Jan. 5,
12                                                        2021)
13    Edward        $975.00      2018     $1,130.29       McAllister v. St. Louis
14    Moss (14                                            Rams, LLC, No. 17-157,
15    years)                                              2018 U.S. Dist. LEXIS
16                                                        227704 (C.D. Cal. July
17                                                        2, 2018)
18    Michael       $850.00      2020     $928.82         Chen v. W. Dig.
19    Palmer (15                                          Corp., No. 19-00909,
20    years)                                              2021 U.S. Dist. LEXIS
21                                                        6728 (C.D. Cal. Jan. 5,
22                                                        2021)
23    Ryan          $915.00      2021     $970.72         Relman Colfax Pllc v.
24    Weinstein                                           Fair Hous. Council of
25    (16 years)                                          San Fernando Valley,
26                                                        No. 19-8612, 2021 U.S.
27                                                        Dist. LEXIS 93147
28

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1                                                       (C.D. Cal. Mar. 16,
2                                                       2021)
3     Michael       $790.00      2018     $915.83       3M Co. v. Phx. Auto.
4     Kahn (16                                          Refinishing Co., No. 17-
5     years)                                            00649, 2018 U.S. Dist.
6                                                       LEXIS 70589 (C.D.
7                                                       Cal. Apr. 25, 2018)
8     Andrew        $850.00      2020     $928.82       Chen v. W. Dig.
9     Melzer (16                                        Corp., No. 19-00909,
10    years)                                            2021 U.S. Dist. LEXIS
11                                                      6728 (C.D. Cal. Jan. 5,
12                                                      2021)
13    Ryan          $915.00      2021     $970.72       Relman Colfax Pllc v.
14    Weinstein                                         Fair Hous. Council of
15    (16 years)                                        San Fernando Valley,
16                                                      No. 19-8612, 2021 U.S.
17                                                      Dist. LEXIS 93147
18                                                      (C.D. Cal. Mar. 16,
19                                                      2021)
20    Andrew        $850.00      2020     $928.82       Alikhan v. Goodrich
21    Sokolowski                                        Corp., No. 17-6756,
22    (17 years)                                        2020 U.S. Dist. LEXIS
23                                                      155169 (C.D. Cal. June
24                                                      25, 2020)
25    Launa         $850.00      2020     $928.82       Alikhan v. Goodrich
26    Adolf (17                                         Corp., No. 17-6756,
27    years)                                            2020 U.S. Dist. LEXIS
28

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1                                                         155169 (C.D. Cal. June
2                                                         25, 2020)
3     Jesus E.      $845.00      2020     $923.35         125916 Ont. Ltd. v.
4     Cuza (20                                            Kagan, No. 20-02630,
5     years)                                              2020 U.S. Dist. LEXIS
6                                                         227111 (C.D. Cal. Nov.
7                                                         16, 2020)
8     Eileen        $860.00      2020     $939.75         Fan v. Delta Air
9     Goldsmith                                           Lines, No. 19-04599,
10    (20 years)                                          2020 U.S. Dist. LEXIS
11                                                        157480 (C.D. Cal. May
12                                                        20, 2020)
13    Anne          $1,005.00    2022     $1035.15        Hope Med. Enters. v.
14    Voigts (20                                          Fagrgon Compounding
15    years)                                              Serv., LLC, No. 19-
16                                                        07748, 2022 U.S. Dist.
17                                                        LEXIS 49151 (C.D.
18                                                        Cal. Mar. 14, 2022)
19    Benjamin      $1,130.00    2020     $1,241.25       Relman Colfax Pllc v.
20    Razi (20                                            Fair Hous. Council of
21    years)                                              San Fernando Valley,
22                                                        No. 19-8612, 2021 U.S.
23                                                        Dist. LEXIS 93147
24                                                        (C.D. Cal. Mar. 16,
25                                                        2021)
26
27
28

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1      Lisa Dwyer $1,040.00         2022     $1,071.20          Hope Med. Enters. v.
2      (21 years)                                               Fagrgon Compounding
3                                                               Serv., LLC, No. 19-
4                                                               07748, 2022 U.S. Dist.
5                                                               LEXIS 49151 (C.D. Cal.
6                                                               Mar. 14, 2022)
7      Benjamin       $1,170.00     2021     $1,241.25          Relman Colfax Pllc v.
8      Razi (21                                                 Fair Hous. Council of
9      years)                                                   San Fernando Valley,
10                                                              No. 19-8612, 2021 U.S.
11                                                              Dist. LEXIS 93147
12                                                              (C.D. Cal. Mar. 16,
13                                                              2021)
14       IX.      Colin Kelly’s Reasonable 2023 Hourly Rate For Attorney Work.
15          38.     Colin Kelly has 14 years of experience as of the time this Motion is
16    filed. I worked with Mr. Kelly on various matters while he was still at Coastkeeper,
17    and especially this case. Based on my experience working with him, I am well
18    aware that his work is of excellent quality and he has extensive expertise in
19    environmental citizen suit litigation—as is further reflected in his declaration in
20    support of this Motion. I am further aware from talking with colleagues that Mr.
21    Kelly enjoys a reputation for environmental citizen suit expertise, as reflected in
22    numerous successful citizen suit case outcomes. I am aware that Orange County
23    Coastkeeper has set Mr. Kelly’s 2023 rate for the Los Angeles/Orange County area
24    legal market at $810 per hour. It is my opinion that Mr. Kelly’s hourly rate of $810
25    per hour is an appropriate 2023 rate to claim in the Los Angeles/Orange County area
26    legal market for an attorney of his level of skill, years of experience, and reputation
27    for environmental law expertise. This rate is commensurate with, even lower than,
28    rates found reasonable in Central District of California attorneys’ fee award

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1     decisions for attorneys with his level of skill, experience, and reputation working on
2     cases involving complex civil litigation. In evaluating his hourly rate, I have
3     reviewed market data and attorney fee awards in cases decided over the past several
4     years involving various types of complex civil litigation in the U.S. District Court
5     for the Central District of California, which are described below.
6             39.   In the chart below, I have set forth the rates that the Court found
7     reasonable in the representative Central District of California cases that support the
8     reasonableness of Mr. Kelly’s hourly rate and then what those rates would be as an
9     inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a very
10    conservative 3% per year inflation value that likely underestimates actual attorney
11    fee inflation over the relevant period). The average of these historical rates is
12    $820.95 per hour, before correcting for inflation. Utilizing a 3% per year inflation
13    adjustment, the average of the attorney hourly rates from the cases below is $904.48
14    per hour. These figures are notably above Mr. Kelly’s rate of $810 per hour. Given
15    that Mr. Kelly’s $810 per hour rate is below these figures, his rate is not only
16    reasonable, it is in my opinion even somewhat less than the prevailing market rate in
17    2023 for an attorney of his experience, skill, and reputation in the Central District of
18    California.
19     Name of        Hourly        Year of Hourly Rate           Case Citation
20     Attorney       Rate          Rate       Conservatively
21     and Years      Found                    Adjusted for
22     of             Reasonable               Inflation (3%
23     Experience                              per year) to
24     When                                    2023
25     Requesting
26     Rate
27
28

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1     Michael       $790.00      2018     $915.83          3M Co. v. Phx. Auto.
2     Kahn (16                                             Refinishing Co., No. 17-
3     years)                                               00649, 2018 U.S. Dist.
4                                                          LEXIS 70589 (C.D. Cal.
5                                                          Apr. 25, 2018)
6     Dalia         $775.00      2020     $846.86          Alikhan v. Goodrich
7     Khalili (13                                          Corp., No. 17-6756, 2020
8     years)                                               U.S. Dist. LEXIS 155169
9                                                          (C.D. Cal. June 25, 2020)
10    Xinying       $750.00      2020     $819.55          Chen v. W. Dig.
11    Valerian                                             Corp., No. 19-00909,
12    (13 years)                                           2021 U.S. Dist. LEXIS
13                                                         6728 (C.D. Cal. Jan. 5,
14                                                         2021)
15    Felicia       $950.00      2020     $1,038.09        Chen v. W. Dig.
16    Medina (14                                           Corp., No. 19-00909,
17    years)                                               2021 U.S. Dist. LEXIS
18                                                         6728 (C.D. Cal. Jan. 5,
19                                                         2021)
20    Michael       $850.00      2020     $928.82          Chen v. W. Dig.
21    Palmer (15                                           Corp., No. 19-00909,
22    years)                                               2021 U.S. Dist. LEXIS
23                                                         6728 (C.D. Cal. Jan. 5,
24                                                         2021)
25    Andrew        $850.00      2020     $928.82          Chen v. W. Dig.
26    Melzer (16                                           Corp., No. 19-00909,
27    years)                                               2021 U.S. Dist. LEXIS
28

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1                                                        6728 (C.D. Cal. Jan. 5,
2                                                        2021)
3
      Launa         $750.00      2018     $869.46        Edwards v. Chartwell
4
      Adolph (15                                         Staffing Servs., No. 16-
5
      years)                                             9187, 2018 U.S. Dist.
6
                                                         LEXIS 234700 (C.D. Cal.
7
                                                         Aug. 27, 2018)
8
      Eric Brown $825.00         2020     $901.50        Fan v. Delta Air
9
      (12 years)                                         Lines, No. 19-04599,
10
                                                         2020 U.S. Dist. LEXIS
11
                                                         157480 (C.D. Cal. May
12
                                                         20, 2020)
13
      John          $785.00      2022     $808.55        French v. City of
14
      Fattahi (15                                        L.A., No. 20-00416, 2022
15
      years)                                             U.S. Dist. LEXIS 111194
16
                                                         (C.D. Cal. May 10, 2022)
17
      Marshall P. $675.00        2019     $759.72        Jiangchen v. Rentech,
18
      Dees (13                                           Inc., No. 17-1490, 2019
19
      years)                                             U.S. Dist. LEXIS 180474
20
                                                         (C.D. Cal. Oct. 10, 2019)
21
      Stefan        $730.00      2021     $774.46        Judson v. Goldco Direct,
22
      Coleman                                            LLC, No. 19-6798, 2021
23
      (13 years)                                         U.S. Dist. LEXIS 258173
24
                                                         (C.D. Cal. June 11, 2021)
25
      Andrew        $872.00      2020     $952.86        Laub v.
26
      Ditchfield                                         Horbaczewski, No. 17-
27
      (13 years)                                         6210, 2020 U.S. Dist.
28

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1                                                          LEXIS 259004 (C.D. Cal.
2                                                          Nov. 23, 2020)
3
      Brian M.      $843.00      2020     $921.17          Laub v.
4
      Burnovski                                            Horbaczewski, No. 17-
5
      (14 years)                                           6210, 2020 U.S. Dist.
6
                                                           LEXIS 259004 (C.D. Cal.
7
                                                           Nov. 23, 2020)
8
      Edward        $975.00      2018     $1,130.29        McAllister v. St. Louis
9
      Moss (14                                             Rams, LLC, No. 17-157,
10
      years)                                               2018 U.S. Dist. LEXIS
11
                                                           227704 (C.D. Cal. July 2,
12
                                                           2018)
13
      Andrew        $935.00      2020     $1,021.70        Relman Colfax Pllc v.
14
      Soukup (12                                           Fair Hous. Council of
15
      years)                                               San Fernando Valley, No.
16
                                                           19-8612, 2021 U.S. Dist.
17
                                                           LEXIS 93147 (C.D. Cal.
18
                                                           Mar. 16, 2021)
19
      Andrew        $975.00      2021     $1,034.38        Relman Colfax Pllc v.
20
      Soukup (13                                           Fair Hous. Council of
21
      years)                                               San Fernando Valley, No.
22
                                                           19-8612, 2021 U.S. Dist.
23
                                                           LEXIS 93147 (C.D. Cal.
24
                                                           Mar. 16, 2021)
25
      Ryan          $875.00      2020     $956.14          Relman Colfax Pllc v.
26
      Weinstein                                            Fair Hous. Council of
27
      (15 years)                                           San Fernando Valley, No.
28

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1                                                                19-8612, 2021 U.S. Dist.
2                                                                LEXIS 93147 (C.D. Cal.
3                                                                Mar. 16, 2021)
4      Ryan           $915.00       2021      $970.72            Relman Colfax Pllc v.
5      Weinstein                                                 Fair Hous. Council of
6      (16 years)                                                San Fernando Valley, No.
7                                                                19-8612, 2021 U.S. Dist.
8                                                                LEXIS 93147 (C.D. Cal.
9                                                                Mar. 16, 2021)
10     Jackson        $740.00       2018      $857.86            WB Music Corp. v. Royce
11     Wagener                                                   Int'l Broad. Corp., No.
12     (13 years)                                                16-600, 2018 U.S. Dist.
13                                                               LEXIS 227743 (C.D. Cal.
14                                                               July 9, 2018)
15     Jackson        $740.00       2018      $857.86            WB Music Corp. v. Royce
16     Wagener                                                   Int'l Broad. Corp., No.
17     (13 years)                                                16-600, 2020 U.S. Dist.
18                                                               LEXIS 247679 (C.D. Cal.
19                                                               Nov. 20, 2020)
20     Jason          $640.00       2020      $699.35            Wishtoyo Found. v.
21     Weiner (12                                                United Water
22     years)                                                    Conservation Dist., No.
23                                                               19-55380 (9th Cir. Nov.
24                                                               16, 2020)
25            40.   The 15 additional data points in the chart below further support the
26    reasonableness of Mr. Kelly’s rate of $810 per hour. The attorneys in these cases
27    had between 3 and 11 years less experience than Mr. Kelly, and the Courts found
28    that rates exceeding his rate of $810 per hour were reasonable for those attorneys,

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1     after conservatively correcting for inflation. Indeed, the Courts found rates
2     exceeding Mr. Kelly’s rate, even without correcting for inflation at all, reasonable
3     for attorneys with as many as 9 years less experience (i.e. almost two-thirds less
4     experience).
5      Name of        Hourly       Year      Hourly Rate        Case Citation
6      Attorney       Rate         of        Conservatively
7      and Years      Found        Rate      Adjusted for
8      of             Reasonable             Inflation (3%
9      Experience                            per year) to
10     When                                  2023
11     Requesting
12     Rate
13     Kathryn        $702.00      2018      $813.81            WB Music Corp. v. Royce
14     Hutchinson                                               Int'l Broad. Corp., No.
15     (7 years)                                                16-600, 2018 U.S. Dist.
16                                                              LEXIS 227743 (C.D. Cal.
17                                                              July 9, 2018)
18     Kathryn W. $702.00          2018      $813.81            WB Music Corp. v. Royce
19     Hutchinson                                               Int'l Broad. Corp., No.
20     (7 years)                                                16-600, 2020 U.S. Dist.
21                                                              LEXIS 247679 (C.D. Cal.
22                                                              Nov. 20, 2020)
23     Danielle       $750.00      2020      $819.55            Chen v. W. Dig.
24     Fuschetti (7                                             Corp., No. 19-00909,
25     years)                                                   2021 U.S. Dist. LEXIS
26                                                              6728 (C.D. Cal. Jan. 5,
27                                                              2021)
28

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1     John A.       $750.00      2020     $819.55       125916 Ont. Ltd. v.
2     Canale (8                                         Kagan, No. 20-02630,
3     years)                                            2020 U.S. Dist. LEXIS
4                                                       227111 (C.D. Cal. Nov.
5                                                       16, 2020)
6     Angela        $775.00      2021     $822.20       Woodhouse v. United
7     Poon (8                                           States Gov't, No. 21-
8     years)                                            06372, 2021 U.S. Dist.
9                                                       LEXIS 249920 (C.D. Cal.
10                                                      Dec. 31, 2021)
11    Nora Kahn     $720.00      2018     834.68        McAllister v. St. Louis
12    (4 years)                                         Rams, LLC, No. 17-157,
13                                                      2018 U.S. Dist. LEXIS
14                                                      227704 (C.D. Cal. July 2,
15                                                      2018)
16    Joseph C.     $795.00      2021     $843.42       Woodhouse v. United
17    Hansen (8                                         States Gov't, No. 21-
18    years)                                            06372, 2021 U.S. Dist.
19                                                      LEXIS 249920 (C.D. Cal.
20                                                      Dec. 31, 2021)
21    Robert        $750.00      2019     $844.13       Jiangchen v. Rentech,
22    Prongay (9                                        Inc., No. 17-1490, 2019
23    years)                                            U.S. Dist. LEXIS 180474
24                                                      (C.D. Cal. Oct. 10, 2019)
25    Robert        $775.00      2020     $846.86       125916 Ont. Ltd. v.
26    Barton (11                                        Kagan, No. 20-02630,
27    years)                                            2020 U.S. Dist. LEXIS
28

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1                                                       227111 (C.D. Cal. Nov.
2                                                       16, 2020)
3     Avi R.        $800.00      2021     $848.72       Judson v. Goldco Direct,
4     Kaufman                                           LLC, No. 19-6798, 2021
5     (11 years)                                        U.S. Dist. LEXIS 258173
6                                                       (C.D. Cal. June 11, 2021)
7     Felicia       $800.00      2020     $874.18       Chen v. W. Dig.
8     Gilbert (9                                        Corp., No. 19-00909,
9     years)                                            2021 U.S. Dist. LEXIS
10                                                      6728 (C.D. Cal. Jan. 5,
11                                                      2021)
12    Stephanie     $770.00      2018     $892.64       McAllister v. St. Louis
13    Drotar (3                                         Rams, LLC, No. 17-157,
14    years)                                            2018 U.S. Dist. LEXIS
15                                                      227704 (C.D. Cal. July 2,
16                                                      2018)
17    Russell       $850.00      2020     $928.82       Chen v. W. Dig.
18    Kornblith                                         Corp., No. 19-00909,
19    (7 years)                                         2021 U.S. Dist. LEXIS
20                                                      6728 (C.D. Cal. Jan. 5,
21                                                      2021)
22    Yungmoon      $876.00      2021     $929.35       Aecom Energy & Constr.,
23    Chang (5                                          Inc. v. Topolewski, No.
24    years)                                            17-5398, 2022 U.S. Dist.
25                                                      LEXIS 84689 (C.D. Cal.
26                                                      May 9, 2022)
27
28

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1      Matthew          $875.00       2018      $1,014.36         McAllister v. St. Louis
2      Murphy (8                                                  Rams, LLC, No. 17-157,
3      years)                                                     2018 U.S. Dist. LEXIS
4                                                                 227704 (C.D. Cal. July 2,
5                                                                 2018)
6        X.         Lauren Chase’s Reasonable 2023 Hourly Rate For Attorney Work.
7             41.     Lauren Chase has 5 years of experience as of the time this Motion is
8     filed. I have worked closely with Ms. Chase as co-counsel on numerous matters
9     over the last few years. Based on my years of experience working with her, I am
10    well aware that her work is of excellent quality and she has extensive expertise in
11    environmental citizen suit litigation—as is further reflected in her declaration in
12    support of this Motion. I am further aware from talking with colleagues that Ms.
13    Chase enjoys a reputation for environmental citizen suit expertise, as reflected in
14    numerous successful citizen suit case outcomes. I am aware that Orange County
15    Coastkeeper has set Ms. Chase’s 2023 hourly rate for the Los Angeles/Orange
16    County area legal market at $595 per hour. It is my opinion that Ms. Chase’s hourly
17    rate of $595 per hour is an appropriate 2023 rate to claim in the Los Angeles/Orange
18    County area legal market for an attorney of her level of skill, years of experience,
19    and reputation for environmental law expertise. This rate is commensurate with,
20    even lower than, rates found reasonable in Central District of California attorneys’
21    fee award decisions for attorneys with her level of skill, experience, and reputation
22    working on cases involving complex civil litigation. In evaluating her hourly rate, I
23    have reviewed market data and attorney fee awards in cases decided over the past
24    several years involving various types of complex civil litigation in the U.S. District
25    Court for the Central District of California, which are described below.
26            42.     In the chart below, I have set forth the rates that the Court found
27    reasonable in the representative Central District of California cases that support the
28    reasonableness of Ms. Chase’s hourly rate and then what those rates would be as an

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1     inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a very
2     conservative 3% per year inflation value that likely underestimates actual attorney
3     fee inflation over the relevant period). The average of these historical rates is
4     $620.97 per hour, before correcting for inflation. Utilizing a 3% per year inflation
5     adjustment, the average of the attorney hourly rates from the cases below is $697.54
6     per hour. These figures are notably well above Ms. Chase’s rate of $595 per hour.
7     Given that her $595 per hour rate is well below these figures, her rate is not only
8     reasonable, it is in my opinion even somewhat less than the prevailing market rate in
9     2023 for an attorney of her experience, skill, and reputation in the Central District of
10    California.
11     Name of         Hourly         Year     Hourly Rate        Case Citation
12     Attorney        Rate           of       Conservatively
13     and Years of Found             Rate     Adjusted for
14     Experience      Reasonable              Inflation (3%
15     When                                    per year) to
16     Requesting                              2023
17     Rate
18     Romeao          $580.00        2018     $672.38            3M Co. v. Phx. Auto.
19     Jennings (7                                                Refinishing Co., No.
20     years)                                                     17-00649, 2018 U.S.
21                                                                Dist. LEXIS 70589
22                                                                (C.D. Cal. Apr. 25,
23                                                                2018)
24     Cristina        $615.00        2019     $692.19            Abbas v. Vertical
25     Salvato (6                                                 Entm't, LLC, No. 18-
26     years)                                                     7399, 2019 U.S. Dist.
27                                                                LEXIS 181056 (C.D.
28                                                                Cal. Oct. 18, 2019)

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1     Yungmoon        $876.00      2021   $929.35        Aecom Energy &
2     Chang (5                                           Constr., Inc. v.
3     years)                                             Topolewski, No. 17-
4                                                        5398, 2022 U.S. Dist.
5                                                        LEXIS 84689 (C.D.
6                                                        Cal. May 9, 2022)
7     Julia Z.        $525.00      2020   $573.68        Alikhan v. Goodrich
8     Wells (3                                           Corp., No. 17-6756,
9     years)                                             2020 U.S. Dist. LEXIS
10                                                       155169 (C.D. Cal. June
11                                                       25, 2020)
12    Irina           $525.00      2020   $573.68        Alikhan v. Goodrich
13    Kirnasova (4                                       Corp., No. 17-6756,
14    years)                                             2020 U.S. Dist. LEXIS
15                                                       155169 (C.D. Cal. June
16                                                       25, 2020)
17    Christopher     $400.00      2020   $437.09        Chen v. W. Dig.
18    Yandel (3                                          Corp., No. 19-00909,
19    years)                                             2021 U.S. Dist. LEXIS
20                                                       6728 (C.D. Cal. Jan. 5,
21                                                       2021)
22    Emily           $450.00      2020   $491.73        Chen v. W. Dig.
23    Linehan (3                                         Corp., No. 19-00909,
24    years)                                             2021 U.S. Dist. LEXIS
25                                                       6728 (C.D. Cal. Jan. 5,
26                                                       2021)
27
28

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1     Alok Nadig      $500.00      2020   $546.36        Chen v. W. Dig.
2     (3 years)                                          Corp., No. 19-00909,
3                                                        2021 U.S. Dist. LEXIS
4                                                        6728 (C.D. Cal. Jan. 5,
5                                                        2021)
6     Danielle        $750.00      2020   $819.55        Chen v. W. Dig.
7     Fuschetti (7                                       Corp., No. 19-00909,
8     years)                                             2021 U.S. Dist. LEXIS
9                                                        6728 (C.D. Cal. Jan. 5,
10                                                       2021)
11    Russell         $850.00      2020   $928.82        Chen v. W. Dig.
12    Kornblith (7                                       Corp., No. 19-00909,
13    years)                                             2021 U.S. Dist. LEXIS
14                                                       6728 (C.D. Cal. Jan. 5,
15                                                       2021)
16    Daniel Bass     $525.00      2018   $608.62        Edwards v. Chartwell
17    (6 years)                                          Staffing Servs., No. 16-
18                                                       9187, 2018 U.S. Dist.
19                                                       LEXIS 234700 (C.D.
20                                                       Cal. Aug. 27, 2018)
21    Tagore          $575.00      2018   $666.58        Edwards v. Chartwell
22    Subramaniam                                        Staffing Servs., No. 16-
23    (7 years)                                          9187, 2018 U.S. Dist.
24                                                       LEXIS 234700 (C.D.
25                                                       Cal. Aug. 27, 2018)
26    Lauren          $630.00      2019   $709.07        Homegoods, Inc. v.
27    Timmons (5                                         Papanicolaou, No. 19-
28    years)                                             06912, 2019 U.S. Dist.

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1                                                        LEXIS 221967 (C.D.
2                                                        Cal. Dec. 4, 2019)
3     Evan            $710.00      2019   $799.11        Homegoods, Inc. v.
4     Woolley (7                                         Papanicolaou, No. 19-
5     years)                                             06912, 2019 U.S. Dist.
6                                                        LEXIS 221967 (C.D.
7                                                        Cal. Dec. 4, 2019)
8     Alexandria P. $375.00        2019   $422.07        Jiangchen v. Rentech,
9     Rankin (3                                          Inc., No. 17-1490,
10    years)                                             2019 U.S. Dist. LEXIS
11                                                       180474 (C.D. Cal. Oct.
12                                                       10, 2019)
13    Melissa         $525.00      2019   $590.89        Jiangchen v. Rentech,
14    Wright (7                                          Inc., No. 17-1490,
15    years)                                             2019 U.S. Dist. LEXIS
16                                                       180474 (C.D. Cal. Oct.
17                                                       10, 2019)
18    Peter M.        $591.60      2020   $646.46        Laub v.
19    Bozzo (5                                           Horbaczewski, No. 17-
20    years)                                             6210, 2020 U.S. Dist.
21                                                       LEXIS 259004 (C.D.
22                                                       Cal. Nov. 23, 2020)
23    Stephanie       $770.00      2018   $892.64        McAllister v. St. Louis
24    Drotar (3                                          Rams, LLC, No. 17-
25    years)                                             157, 2018 U.S. Dist.
26                                                       LEXIS 227704 (C.D.
27                                                       Cal. July 2, 2018)
28

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1     Nora Kahn (4 $720.00         2018   $834.68        McAllister v. St. Louis
2     years)                                             Rams, LLC, No. 17-
3                                                        157, 2018 U.S. Dist.
4                                                        LEXIS 227704 (C.D.
5                                                        Cal. July 2, 2018)
6     Daniel Rios     $675.00      2021   $716.11        Relman Colfax Pllc v.
7     (3 years)                                          Fair Hous. Council of
8                                                        San Fernando Valley,
9                                                        No. 19-8612, 2021
10                                                       U.S. Dist. LEXIS
11                                                       93147 (C.D. Cal. Mar.
12                                                       16, 2021)
13    Steven          $715.00      2020   $781.30        Relman Colfax Pllc v.
14    Winkelman                                          Fair Hous. Council of
15    (5 years)                                          San Fernando Valley,
16                                                       No. 19-8612, 2021
17                                                       U.S. Dist. LEXIS
18                                                       93147 (C.D. Cal. Mar.
19                                                       16, 2021)
20    Kathryn         $702.00      2018   $813.81        WB Music Corp. v.
21    Hutchinson                                         Royce Int'l Broad.
22    (7 years)                                          Corp., No. 16-600,
23                                                       2018 U.S. Dist. LEXIS
24                                                       227743 (C.D. Cal. July
25                                                       9, 2018)
26    Cassandra E.    $607.50      2020   $663.83        WB Music Corp. v.
27    Havens (3                                          Royce Int'l Broad.
28    years)                                             Corp., No. 16-600,

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1                                                        2020 U.S. Dist. LEXIS
2                                                        247679 (C.D. Cal.
3                                                        Nov. 20, 2020)
4     Laura           $607.50      2020   $663.83        Wb Music Corp. v.
5     Watson (3                                          Royce Int'l Broad.
6     years)                                             Corp., No. 16-600,
7                                                        2021 U.S. Dist. LEXIS
8                                                        193603 (C.D. Cal. May
9                                                        7, 2021)
10    Laura           $706.50      2021   $749.53        Wb Music Corp. v.
11    Watson (4                                          Royce Int'l Broad.
12    years)                                             Corp., No. 16-600,
13                                                       2021 U.S. Dist. LEXIS
14                                                       193603 (C.D. Cal. May
15                                                       7, 2021)
16    Kathryn W.      $567.00      2016   $697.34        WB Music Corp. v.
17    Hutchinson                                         Royce Int'l Broad.
18    (5 years)                                          Corp., No. 16-600,
19                                                       2020 U.S. Dist. LEXIS
20                                                       247679 (C.D. Cal.
21                                                       Nov. 20, 2020)
22    Kathryn W.      $625.50      2017   $746.88        WB Music Corp. v.
23    Hutchinson                                         Royce Int'l Broad.
24    (6 years)                                          Corp., No. 16-600,
25                                                       2020 U.S. Dist. LEXIS
26                                                       247679 (C.D. Cal.
27                                                       Nov. 20, 2020)
28

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1      Amie Medley $607.50            2016     $747.15            WB Music Corp. v.
2      (7 years)                                                  Royce Int'l Broad.
3                                                                 Corp., No. 16-600,
4                                                                 2020 U.S. Dist. LEXIS
5                                                                 247679 (C.D. Cal.
6                                                                 Nov. 20, 2020)
7      Kathryn W.       $702.00       2018     $813.81            WB Music Corp. v.
8      Hutchinson                                                 Royce Int'l Broad.
9      (7 years)                                                  Corp., No. 16-600,
10                                                                2020 U.S. Dist. LEXIS
11                                                                247679 (C.D. Cal.
12                                                                Nov. 20, 2020)
13            43.   The 3 additional data points in the chart below further support the
14    reasonableness of Ms. Chase’s rate of $595 per hour. The attorneys in these cases
15    had 3 years less experience than Ms. Chase, and the Courts found that rates
16    exceeding her rate of $595 per hour were reasonable for those attorneys, even
17    without conservatively correcting for inflation in two cases.
18     Name of        Hourly        Year Hourly Rate           Case Citation
19     Attorney       Rate          of       Conservatively
20     and Years      Found         Rate Adjusted for
21     of             Reasonable             Inflation (3%
22     Experience                            per year) to
23     When                                  2023
24     Requesting
25     Rate
26     Yungmoon       $554.00       2018 $642.24               Aecom Energy & Constr. v.
27     Change (2                                               Ripley, No. 17-5398, 2018
28     years)

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1                                                             U.S. Dist. LEXIS 173810
2                                                             (C.D. Cal. Oct. 9, 2018)
3      Maria          $656.00       2021 $695.95              Aecom Energy & Constr.,
4      Beltran (2                                             Inc. v. Topolewski, No. 17-
5      years)                                                 5398, 2022 U.S. Dist.
6                                                             LEXIS 84689 (C.D. Cal.
7                                                             May 9, 2022)
8      Daniel Rios $600.00          2020 $655.64              Relman Colfax Pllc v. Fair
9      (2 years)                                              Hous. Council of San
10                                                            Fernando Valley, No. 19-
11                                                            8612, 2021 U.S. Dist.
12                                                            LEXIS 93147 (C.D. Cal.
13                                                            Mar. 16, 2021)
14       XI.      Sarah Spinuzzi’s Reasonable 2023 Hourly Rate For Attorney Work.
15          44.     Sarah Spinuzzi has 8 years of experience as of the time this Motion is
16    filed. While she was still at Coastkeeper, I worked closely with Ms. Spinuzzi on
17    several matters over the last few years. Based on my years of experience working
18    with her, I am well aware that her work is of excellent quality and she has extensive
19    expertise in environmental citizen suit litigation—as is further reflected in her
20    declaration in support of this Motion. I am further aware from talking with
21    colleagues that Ms. Spinuzzi enjoys a reputation for environmental citizen suit
22    expertise, as reflected in numerous successful citizen suit case outcomes. I am aware
23    that Orange County Coastkeeper has set Ms. Spinuzzi’s 2023 hourly rate for the Los
24    Angeles/Orange County area legal market at $675 per hour. It is my opinion that
25    Ms. Spinuzzi’s hourly rate of $675 per hour is an appropriate 2023 rate to claim in
26    the Los Angeles/Orange County area legal market for an attorney of her level of
27    skill, years of experience, and reputation for environmental law expertise. This rate
28    is commensurate with, even lower than, rates found reasonable in Central District of

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1     California attorneys’ fee award decisions for attorneys with her level of skill,
2     experience, and reputation working on cases involving complex civil litigation. In
3     evaluating her hourly rate, I have reviewed market data and attorney fee awards in
4     cases decided over the past several years involving various types of complex civil
5     litigation in the U.S. District Court for the Central District of California, which are
6     described below.
7             45.   In the chart below, I have set forth the rates that the Court found
8     reasonable in the representative Central District of California cases that support the
9     reasonableness of Ms. Spinuzzi’s hourly rate and then what those rates would be as
10    an inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a
11    very conservative 3% per year inflation value that likely underestimates actual
12    attorney fee inflation over the relevant period). The average of these historical rates
13    is $671.88 per hour, before correcting for inflation. Utilizing a 3% per year inflation
14    adjustment, the average of the attorney hourly rates from the cases below is $747.24
15    per hour. The unadjusted figure is consistent with Ms. Spinuzzi’s rate and that
16    conservatively adjusted figure is nearly $75 over Ms. Spinuzzi’s rate of $675 per
17    hour. Given the relationship of Ms. Spinuzzi’s rate to these figures, it is my opinion
18    that her $675 per hour rate is reasonable as a prevailing market rate in 2023 for an
19    attorney of her experience, skill, and reputation in the Central District of California.
20     Name of          Hourly        Year      Hourly Rate       Case Citation
21     Attorney         Rate          of        Conservatively
22     and Years of Found             Rate      Adjusted for
23     Experience       Reasonable              Inflation (3%
24     When                                     per year) to
25     Requesting                               2023
26     Rate
27
28

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1     John A.         $750.00      2020   $819.55         125916 Ont. Ltd. v.
2     Canale (8                                           Kagan, No. 20-02630,
3     years)                                              2020 U.S. Dist.
4                                                         LEXIS 227111 (C.D.
5                                                         Cal. Nov. 16, 2020)
6     Rebecca J.      $625.00      2020   $682.95         125916 Ont. Ltd. v.
7     Canamero                                            Kagan, No. 20-02630,
8     (10 years)                                          2020 U.S. Dist.
9                                                         LEXIS 227111 (C.D.
10                                                        Cal. Nov. 16, 2020)
11    Romeao          $580.00      2018   $672.38         3M Co. v. Phx. Auto.
12    Jennings (7                                         Refinishing Co., No.
13    years)                                              17-00649, 2018 U.S.
14                                                        Dist. LEXIS 70589
15                                                        (C.D. Cal. Apr. 25,
16                                                        2018)
17    Cristina        $615.00      2019   $692.19         Abbas v. Vertical
18    Salvato (6                                          Entm't, LLC, No. 18-
19    years)                                              7399, 2019 U.S. Dist.
20                                                        LEXIS 181056 (C.D.
21                                                        Cal. Oct. 18, 2019)
22    Dan Bass (8     $625.00      2020   $682.95         Alikhan v. Goodrich
23    years)                                              Corp., No. 17-6756,
24                                                        2020 U.S. Dist.
25                                                        LEXIS 155169 (C.D.
26                                                        Cal. June 25, 2020)
27
28

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1     Tagore O.       $675.00      2020   $737.59         Alikhan v. Goodrich
2     Subramaniam                                         Corp., No. 17-6756,
3     (9 years)                                           2020 U.S. Dist.
4                                                         LEXIS 155169 (C.D.
5                                                         Cal. June 25, 2020)
6     Danielle        $750.00      2020   $819.55         Chen v. W. Dig.
7     Fuschetti (7                                        Corp., No. 19-00909,
8     years)                                              2021 U.S. Dist.
9                                                         LEXIS 6728 (C.D.
10                                                        Cal. Jan. 5, 2021)
11    Russell         $850.00      2020   $928.82         Chen v. W. Dig.
12    Kornblith (7                                        Corp., No. 19-00909,
13    years)                                              2021 U.S. Dist.
14                                                        LEXIS 6728 (C.D.
15                                                        Cal. Jan. 5, 2021)
16    Kevin           $500.00      2020   $546.36         Chen v. W. Dig.
17    Hubbard (8                                          Corp., No. 19-00909,
18    years)                                              2021 U.S. Dist.
19                                                        LEXIS 6728 (C.D.
20                                                        Cal. Jan. 5, 2021)
21    Felicia         $800.00      2020   $874.18         Chen v. W. Dig.
22    Gilbert (9                                          Corp., No. 19-00909,
23    years)                                              2021 U.S. Dist.
24                                                        LEXIS 6728 (C.D.
25                                                        Cal. Jan. 5, 2021)
26    Daniel Bass     $525.00      2018   $608.62         Edwards v. Chartwell
27    (6 years)                                           Staffing Servs., No.
28                                                        16-9187, 2018 U.S.

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1                                                         Dist. LEXIS 234700
2                                                         (C.D. Cal. Aug. 27,
3                                                         2018)
4     Tagore          $575.00      2018   $666.58         Edwards v. Chartwell
5     Subramaniam                                         Staffing Servs., No.
6     (7 years)                                           16-9187, 2018 U.S.
7                                                         Dist. LEXIS 234700
8                                                         (C.D. Cal. Aug. 27,
9                                                         2018)
10    Kayvon          $600.00      2018   $695.56         Edwards v. Chartwell
11    Sabourian (8                                        Staffing Servs., No.
12    years)                                              16-9187, 2018 U.S.
13                                                        Dist. LEXIS 234700
14                                                        (C.D. Cal. Aug. 27,
15                                                        2018)
16    Eric            $700.00      2022   $721.00         French v. City of
17    Valenzuela                                          L.A., No. 20-00416,
18    (9 years)                                           2022 U.S. Dist.
19                                                        LEXIS 111194 (C.D.
20                                                        Cal. May 10, 2022)
21    Renee V.        $600.00      2022   $618.00         French v. City of
22    Masongsong                                          L.A., No. 20-00416,
23    (10 years)                                          2022 U.S. Dist.
24                                                        LEXIS 111194 (C.D.
25                                                        Cal. May 10, 2022)
26
27
28

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1     Evan            $710.00      2019   $799.11         Homegoods, Inc. v.
2     Woolley (7                                          Papanicolaou, No. 19-
3     years)                                              06912, 2019 U.S. Dist.
4                                                         LEXIS 221967 (C.D.
5                                                         Cal. Dec. 4, 2019)
6     Melissa         $525.00      2019   $590.89         Jiangchen v. Rentech,
7     Wright (7                                           Inc., No. 17-1490,
8     years)                                              2019 U.S. Dist.
9                                                         LEXIS 180474 (C.D.
10                                                        Cal. Oct. 10, 2019)
11    Robert          $750.00      2019   $844.13         Jiangchen v. Rentech,
12    Prongay (9                                          Inc., No. 17-1490,
13    years)                                              2019 U.S. Dist.
14                                                        LEXIS 180474 (C.D.
15                                                        Cal. Oct. 10, 2019)
16    Rachel E.       $730.00      2021   $774.46         Judson v. Goldco
17    Kaufman (10                                         Direct, LLC, No. 19-
18    years)                                              6798, 2021 U.S. Dist.
19                                                        LEXIS 258173 (C.D.
20                                                        Cal. June 11, 2021)
21    Stuart          $675.00      2022   $695.25         Los Angeles
22    Wilcox (10                                          Waterkeeper v.
23    years)                                              American
24                                                        Reclamation, et al.,
25                                                        21-1140, Dkt. 45
26                                                        (C.D. Cal. April 15,
27                                                        2022)
28

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1     Matthew         $875.00      2018   $1,014.36         McAllister v. St. Louis
2     Murphy (8                                             Rams, LLC, No. 17-
3     years)                                                157, 2018 U.S. Dist.
4                                                           LEXIS 227704 (C.D.
5                                                           Cal. July 2, 2018)
6     Kathryn         $702.00      2018   $813.81           WB Music Corp. v.
7     Hutchinson                                            Royce Int'l Broad.
8     (7 years)                                             Corp., No. 16-600,
9                                                           2018 U.S. Dist.
10                                                          LEXIS 227743 (C.D.
11                                                          Cal. July 9, 2018)
12    Amie Medley $607.50          2018   $704.26           WB Music Corp. v.
13    (9 years)                                             Royce Int'l Broad.
14                                                          Corp., No. 16-600,
15                                                          2018 U.S. Dist.
16                                                          LEXIS 227743 (C.D.
17                                                          Cal. July 9, 2018)
18    Kathryn W.      $625.50      2017   $746.88           WB Music Corp. v.
19    Hutchinson                                            Royce Int'l Broad.
20    (6 years)                                             Corp., No. 16-600,
21                                                          2020 U.S. Dist.
22                                                          LEXIS 247679 (C.D.
23                                                          Cal. Nov. 20, 2020)
24    Amie Medley $607.50          2016   $747.15           WB Music Corp. v.
25    (7 years)                                             Royce Int'l Broad.
26                                                          Corp., No. 16-600,
27                                                          2020 U.S. Dist.
28

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1                                                                LEXIS 247679 (C.D.
2                                                                Cal. Nov. 20, 2020)
3      Kathryn W.       $702.00       2018     $813.81           WB Music Corp. v.
4      Hutchinson                                                Royce Int'l Broad.
5      (7 years)                                                 Corp., No. 16-600,
6                                                                2020 U.S. Dist.
7                                                                LEXIS 247679 (C.D.
8                                                                Cal. Nov. 20, 2020)
9      Stuart           $635.00       2020     $693.88           Wishtoyo Found. v.
10     Wilcox (8                                                 United Water
11     years)                                                    Conservation Dist.,
12                                                               No. 19-55380 (9th Cir.
13                                                               Nov. 16, 2020)
14     Angela Poon      $775.00       2021     $822.20           Woodhouse v. United
15     (8 years)                                                 States Gov't, No. 21-
16                                                               06372, 2021 U.S. Dist.
17                                                               LEXIS 249920 (C.D.
18                                                               Cal. Dec. 31, 2021)
19     Joseph C.        $795.00       2021     $843.42           Woodhouse v. United
20     Hansen (8                                                 States Gov't, No. 21-
21     years)                                                    06372, 2021 U.S. Dist.
22                                                               LEXIS 249920 (C.D.
23                                                               Cal. Dec. 31, 2021)
24          46.     The 9 additional data points in the chart below further support the
25    reasonableness of Ms. Spinuzzi’s rate of $675 per hour. The attorneys in these cases
26    had between 3 and 6 years less experience than Ms. Spinuzzi, and the Courts found
27    that rates exceeding her rate of $675 per hour were reasonable for those attorneys,
28    after conservatively correcting for inflation. Indeed, the Courts found rates

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1     exceeding Ms. Spinuzzi’s rate, even without correcting for inflation at all,
2     reasonable for attorneys with as many as 5 years less experience.
3      Name of       Hourly        Year      Hourly Rate        Case Citation
4      Attorney      Rate          of        Conservatively
5      and Years     Found         Rate      Adjusted for
6      of            Reasonable              Inflation (3%
7      Experience                            per year) to
8      When                                  2023
9      Requesting
10     Rate
11     Maria         $656.00       2021      $695.95            Aecom Energy &
12     Beltran (2                                               Constr., Inc. v.
13     years)                                                   Topolewski, No. 17-
14                                                              5398, 2022 U.S. Dist.
15                                                              LEXIS 84689 (C.D.
16                                                              Cal. May 9, 2022)
17     Kathryn W. $567.00          2016      $697.34            WB Music Corp. v.
18     Hutchinson                                               Royce Int'l Broad.
19     (5 years)                                                Corp., No. 16-600,
20                                                              2020 U.S. Dist. LEXIS
21                                                              247679 (C.D. Cal. Nov.
22                                                              20, 2020)
23     Lauren        $630.00       2019      $709.07            Homegoods, Inc. v.
24     Timmons                                                  Papanicolaou, No. 19-
25     (5 years)                                                06912, 2019 U.S. Dist.
26                                                              LEXIS 221967 (C.D.
27                                                              Cal. Dec. 4, 2019)
28

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1     Daniel Rios $600.00        2020     $655.64       Relman Colfax Pllc v.
2     (3 years)                                         Fair Hous. Council of
3                                                       San Fernando Valley,
4                                                       No. 19-8612, 2021 U.S.
5                                                       Dist. LEXIS 93147
6                                                       (C.D. Cal. Mar. 16,
7                                                       2021)
8     Laura         $706.50      2021     $749.53       Wb Music Corp. v.
9     Watson (4                                         Royce Int'l Broad.
10    years)                                            Corp., No. 16-600,
11                                                      2021 U.S. Dist. LEXIS
12                                                      193603 (C.D. Cal. May
13                                                      7, 2021)
14    Steven        $715.00      2020     $781.30       Relman Colfax Pllc v.
15    Winkelman                                         Fair Hous. Council of
16    (5 years)                                         San Fernando Valley,
17                                                      No. 19-8612, 2021 U.S.
18                                                      Dist. LEXIS 93147
19                                                      (C.D. Cal. Mar. 16,
20                                                      2021)
21    Nora Kahn     $720.00      2018     834.68        McAllister v. St. Louis
22    (4 years)                                         Rams, LLC, No. 17-
23                                                      157, 2018 U.S. Dist.
24                                                      LEXIS 227704 (C.D.
25                                                      Cal. July 2, 2018)
26    Stephanie     $770.00      2018     $892.64       McAllister v. St. Louis
27    Drotar (3                                         Rams, LLC, No. 17-
28    years)                                            157, 2018 U.S. Dist.

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1                                                                LEXIS 227704 (C.D.
2                                                                Cal. July 2, 2018)
3      Yungmoon      $876.00        2021      $929.35            Aecom Energy &
4      Chang (5                                                  Constr., Inc. v.
5      years)                                                    Topolewski, No. 17-
6                                                                5398, 2022 U.S. Dist.
7                                                                LEXIS 84689 (C.D.
8                                                                Cal. May 9, 2022)
9        XII. Armita Ariano’s Reasonable 2023 Hourly Rate For Attorney Work.
10          47.    Armita Ariano has 6 years of experience as of the time this Motion is
11    filed. I am aware that Orange County Coastkeeper has set Ms. Ariano’s 2023 hourly
12    rate for the Los Angeles/Orange County area legal market at $620 per hour. It is my
13    opinion that Ms. Ariano’s hourly rate of $620 per hour would easily be an
14    appropriate 2023 rate to claim in the Los Angeles/Orange County area legal market
15    for an attorney of with considerable environmental law expertise. This rate is
16    commensurate with, even lower than, rates found reasonable in Central District of
17    California attorneys’ fee award decisions for experienced attorneys working on
18    cases involving complex civil litigation. In evaluating her hourly rate, I have
19    reviewed market data and attorney fee awards in cases decided over the past several
20    years involving various types of complex civil litigation in the U.S. District Court
21    for the Central District of California, which are described below.
22          48.    In the chart below, I have set forth the rates that the Court found
23    reasonable in the representative Central District of California cases that support the
24    reasonableness of Ms. Ariano’s hourly rate and then what those rates would be as an
25    inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a very
26    conservative 3% per year inflation value that likely underestimates actual attorney
27    fee inflation over the relevant period). The average of these historical rates is
28    $666.18 per hour, before correcting for inflation. Utilizing a 3% per year inflation

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1     adjustment, the average of the attorney hourly rates from the cases below is $747.84
2     per hour. These figures are notably well above Ms. Ariano’s rate of $620 per hour.
3     Given that her $620 per hour rate is below these figures, her rate is not only
4     reasonable, it is in my opinion even somewhat less than the prevailing market rate in
5     2023 for an attorney of her experience, skill, and reputation in the Central District of
6     California.
7      Name of         Hourly         Year    Hourly Rate        Case Citation
8      Attorney        Rate           of      Conservatively
9      and Years of Found             Rate    Adjusted for
10     Experience      Reasonable             Inflation (3%
11     When                                   per year) to
12     Requesting                             2023
13     Rate
14     John A.         $750.00        2020    $819.55            125916 Ont. Ltd. v.
15     Canale (8                                                 Kagan, No. 20-02630,
16     years)                                                    2020 U.S. Dist. LEXIS
17                                                               227111 (C.D. Cal.
18                                                               Nov. 16, 2020)
19     Romeao          $580.00        2018    $672.38            3M Co. v. Phx. Auto.
20     Jennings (7                                               Refinishing Co., No.
21     years)                                                    17-00649, 2018 U.S.
22                                                               Dist. LEXIS 70589
23                                                               (C.D. Cal. Apr. 25,
24                                                               2018)
25     Cristina        $615.00        2019    $692.19            Abbas v. Vertical
26     Salvato (6                                                Entm't, LLC, No. 18-
27     years)                                                    7399, 2019 U.S. Dist.
28

      DECLARATION OF CHRISTOPHER SPROUL           74       Case No. 8:18-cv-00333 DOC (DFM)
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1                                                        LEXIS 181056 (C.D.
2                                                        Cal. Oct. 18, 2019)
3
4     Yungmoon        $876.00      2021   $929.35        Aecom Energy &
5     Chang (5                                           Constr., Inc. v.
6     years)                                             Topolewski, No. 17-
7                                                        5398, 2022 U.S. Dist.
8                                                        LEXIS 84689 (C.D.
9                                                        Cal. May 9, 2022)
10    Irina           $525.00      2020   $573.68        Alikhan v. Goodrich
11    Kirnasova (4                                       Corp., No. 17-6756,
12    years)                                             2020 U.S. Dist. LEXIS
13                                                       155169 (C.D. Cal. June
14                                                       25, 2020)
15    Dan Bass (8     $625.00      2020   $682.95        Alikhan v. Goodrich
16    years)                                             Corp., No. 17-6756,
17                                                       2020 U.S. Dist. LEXIS
18                                                       155169 (C.D. Cal. June
19                                                       25, 2020)
20    Danielle        $750.00      2020   $819.55        Chen v. W. Dig.
21    Fuschetti (7                                       Corp., No. 19-00909,
22    years)                                             2021 U.S. Dist. LEXIS
23                                                       6728 (C.D. Cal. Jan. 5,
24                                                       2021)
25    Russell         $850.00      2020   $928.82        Chen v. W. Dig.
26    Kornblith (7                                       Corp., No. 19-00909,
27    years)                                             2021 U.S. Dist. LEXIS
28

      DECLARATION OF CHRISTOPHER SPROUL     75      Case No. 8:18-cv-00333 DOC (DFM)
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1                                                        6728 (C.D. Cal. Jan. 5,
2                                                        2021)
3
      Kevin           $500.00      2020   $546.36        Chen v. W. Dig.
4
      Hubbard (8                                         Corp., No. 19-00909,
5
      years)                                             2021 U.S. Dist. LEXIS
6
                                                         6728 (C.D. Cal. Jan. 5,
7
                                                         2021)
8
      Daniel Bass     $525.00      2018   $608.62        Edwards v. Chartwell
9
      (6 years)                                          Staffing Servs., No. 16-
10
                                                         9187, 2018 U.S. Dist.
11
                                                         LEXIS 234700 (C.D.
12
                                                         Cal. Aug. 27, 2018)
13
      Tagore          $575.00      2018   $666.58        Edwards v. Chartwell
14
      Subramaniam                                        Staffing Servs., No. 16-
15
      (7 years)                                          9187, 2018 U.S. Dist.
16
                                                         LEXIS 234700 (C.D.
17
                                                         Cal. Aug. 27, 2018)
18
      Kayvon          $600.00      2018   $695.56        Edwards v. Chartwell
19
      Sabourian (8                                       Staffing Servs., No. 16-
20
      years)                                             9187, 2018 U.S. Dist.
21
                                                         LEXIS 234700 (C.D.
22
                                                         Cal. Aug. 27, 2018)
23
      Lauren          $630.00      2019   $709.07        Homegoods, Inc. v.
24
      Timmons (5                                         Papanicolaou, No. 19-
25
      years)                                             06912, 2019 U.S. Dist.
26
                                                         LEXIS 221967 (C.D.
27
                                                         Cal. Dec. 4, 2019)
28

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1     Evan            $710.00      2019   $799.11          Homegoods, Inc. v.
2     Woolley (7                                           Papanicolaou, No. 19-
3     years)                                               06912, 2019 U.S. Dist.
4                                                          LEXIS 221967 (C.D.
5                                                          Cal. Dec. 4, 2019)
6     Melissa         $525.00      2019   $590.89          Jiangchen v. Rentech,
7     Wright (7                                            Inc., No. 17-1490,
8     years)                                               2019 U.S. Dist. LEXIS
9                                                          180474 (C.D. Cal. Oct.
10                                                         10, 2019)
11    Peter M.        $591.60      2020   $646.46          Laub v.
12    Bozzo (5                                             Horbaczewski, No. 17-
13    years)                                               6210, 2020 U.S. Dist.
14                                                         LEXIS 259004 (C.D.
15                                                         Cal. Nov. 23, 2020)
16    Nora Kahn (4 $720.00         2018   $834.68          McAllister v. St. Louis
17    years)                                               Rams, LLC, No. 17-
18                                                         157, 2018 U.S. Dist.
19                                                         LEXIS 227704 (C.D.
20                                                         Cal. July 2, 2018)
21    Matthew         $875.00      2018   $1,014.36        McAllister v. St. Louis
22    Murphy (8                                            Rams, LLC, No. 17-
23    years)                                               157, 2018 U.S. Dist.
24                                                         LEXIS 227704 (C.D.
25                                                         Cal. July 2, 2018)
26
27
28

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1     Steven          $715.00      2020   $781.30        Relman Colfax Pllc v.
2     Winkelman                                          Fair Hous. Council of
3     (5 years)                                          San Fernando Valley,
4                                                        No. 19-8612, 2021
5                                                        U.S. Dist. LEXIS
6                                                        93147 (C.D. Cal. Mar.
7                                                        16, 2021)
8     Kathryn         $702.00      2018   $813.81        WB Music Corp. v.
9     Hutchinson                                         Royce Int'l Broad.
10    (7 years)                                          Corp., No. 16-600,
11                                                       2018 U.S. Dist. LEXIS
12                                                       227743 (C.D. Cal. July
13                                                       9, 2018)
14    Kathryn W.      $567.00      2016   $697.34        WB Music Corp. v.
15    Hutchinson                                         Royce Int'l Broad.
16    (5 years)                                          Corp., No. 16-600,
17                                                       2020 U.S. Dist. LEXIS
18                                                       247679 (C.D. Cal.
19                                                       Nov. 20, 2020)
20    Kathryn W.      $625.50      2017   $746.88        WB Music Corp. v.
21    Hutchinson                                         Royce Int'l Broad.
22    (6 years)                                          Corp., No. 16-600,
23                                                       2020 U.S. Dist. LEXIS
24                                                       247679 (C.D. Cal.
25                                                       Nov. 20, 2020)
26    Amie Medley $607.50          2016   $747.15        WB Music Corp. v.
27    (7 years)                                          Royce Int'l Broad.
28                                                       Corp., No. 16-600,

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1                                                        2020 U.S. Dist. LEXIS
2                                                        247679 (C.D. Cal.
3                                                        Nov. 20, 2020)
4     Kathryn W.      $702.00      2018   $813.81        WB Music Corp. v.
5     Hutchinson                                         Royce Int'l Broad.
6     (7 years)                                          Corp., No. 16-600,
7                                                        2020 U.S. Dist. LEXIS
8                                                        247679 (C.D. Cal.
9                                                        Nov. 20, 2020)
10    Laura           $706.50      2021   $749.53        Wb Music Corp. v.
11    Watson (4                                          Royce Int'l Broad.
12    years)                                             Corp., No. 16-600,
13                                                       2021 U.S. Dist. LEXIS
14                                                       193603 (C.D. Cal. May
15                                                       7, 2021)
16    Stuart          $635.00      2020   $693.88        Wishtoyo Found. v.
17    Wilcox (8                                          United Water
18    years)                                             Conservation Dist.,
19                                                       No. 19-55380 (9th Cir.
20                                                       Nov. 16, 2020)
21    Angela Poon     $775.00      2021   $822.20        Woodhouse v. United
22    (8 years)                                          States Gov't, No. 21-
23                                                       06372, 2021 U.S. Dist.
24                                                       LEXIS 249920 (C.D.
25                                                       Cal. Dec. 31, 2021)
26
27
28

      DECLARATION OF CHRISTOPHER SPROUL     79      Case No. 8:18-cv-00333 DOC (DFM)
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1      Joseph C.        $795.00       2021     $843.42            Woodhouse v. United
2      Hansen (8                                                  States Gov't, No. 21-
3      years)                                                     06372, 2021 U.S. Dist.
4                                                                 LEXIS 249920 (C.D.
5                                                                 Cal. Dec. 31, 2021)
6             49.   The 7 additional data points in the chart below further support the
7     reasonableness of Ms. Ariano’s rate of $620 per hour. The attorneys in these cases
8     had between 3 and 4 years less experience than Ms. Ariano, and the Courts found
9     that rates exceeding her rate of $620 per hour were reasonable for those attorneys,
10    after conservatively correcting for inflation. Indeed, the Courts found rates
11    exceeding Ms. Ariano’s rate, even without correcting for inflation at all, reasonable
12    for attorneys with as many as 4 years less experience.
13     Name of        Hourly        Year      Hourly Rate        Case Citation
14     Attorney       Rate          of        Conservatively
15     and Years      Found         Rate      Adjusted for
16     of             Reasonable              Inflation (3%
17     Experience                             per year) to
18     When                                   2023
19     Requesting
20     Rate
21     Yungmoon       $554.00       2018      $642.24            Aecom Energy &
22     Change (2                                                 Constr. v. Ripley, No.
23     years)                                                    17-5398, 2018 U.S.
24                                                               Dist. LEXIS 173810
25                                                               (C.D. Cal. Oct. 9,
26                                                               2018)
27
28

      DECLARATION OF CHRISTOPHER SPROUL          80          Case No. 8:18-cv-00333 DOC (DFM)
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1     Daniel Rios $600.00        2020     $655.64       Relman Colfax Pllc v.
2     (2 years)                                         Fair Hous. Council of
3                                                       San Fernando Valley,
4                                                       No. 19-8612, 2021
5                                                       U.S. Dist. LEXIS
6                                                       93147 (C.D. Cal. Mar.
7                                                       16, 2021)
8     Cassandra     $607.50      2020     $663.83       WB Music Corp. v.
9     E. Havens                                         Royce Int'l Broad.
10    (3 years)                                         Corp., No. EDCV 16-
11                                                      600 JGB (SPx), 2020
12                                                      U.S. Dist. LEXIS
13                                                      247679 (C.D. Cal.
14                                                      Nov. 20, 2020)
15    Laura         $607.50      2020     $663.83       Wb Music Corp. v.
16    Watson (3                                         Royce Int'l Broad.
17    years)                                            Corp., No. 16-600,
18                                                      2021 U.S. Dist. LEXIS
19                                                      193603 (C.D. Cal. May
20                                                      7, 2021)
21    Maria         $656.00      2021     $695.95       Aecom Energy &
22    Beltran (2                                        Constr., Inc. v.
23    years)                                            Topolewski, No. 17-
24                                                      5398, 2022 U.S. Dist.
25                                                      LEXIS 84689 (C.D.
26                                                      Cal. May 9, 2022)
27
28

      DECLARATION OF CHRISTOPHER SPROUL      81     Case No. 8:18-cv-00333 DOC (DFM)
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1      Daniel Rios $675.00          2021     $716.11            Relman Colfax Pllc v.
2      (3 years)                                                Fair Hous. Council of
3                                                               San Fernando Valley,
4                                                               No. 19-8612, 2021
5                                                               U.S. Dist. LEXIS
6                                                               93147 (C.D. Cal. Mar.
7                                                               16, 2021)
8      Stephanie     $770.00        2018     $892.64            McAllister v. St. Louis
9      Drotar (3                                                Rams, LLC, No. 17-
10     years)                                                   157, 2018 U.S. Dist.
11                                                              LEXIS 227704 (C.D.
12                                                              Cal. July 2, 2018)
13       XIII. Barry Lee’s Reasonable 2023 Hourly Rate For Attorney Work.
14          50.    Barry Lee has less than one year of experience as of the time this
15    Motion is filed. I have worked with Mr. Lee to some extent on this matter and have
16    found his knowledge and work to be commensurate with attorneys of his experience
17    level. I am aware that Orange County Coastkeeper has set Mr. Lee’s 2023 hourly
18    rate for the Los Angeles/Orange County area legal market at $390 per hour. It is my
19    opinion that Mr. Lee’s hourly rate of $390 per hour is an appropriate 2023 rate to
20    claim in the Los Angeles/Orange County area legal market for an entry-level
21    attorney of his skill and experience. This rate is commensurate with, even lower
22    than, rates found reasonable in Central District of California attorneys’ fee award
23    decisions for attorneys with his level of skill and experience working on cases
24    involving complex civil litigation. In evaluating his hourly rate, I have reviewed
25    market data and attorney fee awards in cases decided over the past several years
26    involving various types of complex civil litigation in the U.S. District Court for the
27    Central District of California, which are described below.
28

      DECLARATION OF CHRISTOPHER SPROUL          82        Case No. 8:18-cv-00333 DOC (DFM)
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1             51.   In the chart below, I have set forth the rates that the Court found
2     reasonable in the representative Central District of California cases that support the
3     reasonableness of Mr. Lee’s hourly rate and then what those rates would be as an
4     inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a very
5     conservative 3% per year inflation value that likely underestimates actual attorney
6     fee inflation over the relevant period). The average of these historical rates is
7     $384.27 per hour, before correcting for inflation. Utilizing a 3% per year inflation
8     adjustment, the average of the attorney hourly rates from the cases below is $430.34
9     per hour. Mr. Lee’s rate of $390 per hour is just above the average not corrected for
10    inflation and is over $40 below the average corrected for inflation. It is also notable
11    that this data set includes several individuals that had presumably not yet graduated
12    law school and passed the bar, unlike Mr. Lee who is a barred attorney. This data
13    includes a law clerk, two summer associates, and a legal intern. Inclusion of rates
14    for these non-attorney individuals brings the average down substantially. With those
15    non-attorney individuals removed, the unadjusted average becomes $446.72 and the
16    adjusted average becomes $504.27. Mr. Lee’s hourly rate thus fits well with, and is
17    actually significantly below, the reasonable hourly rate indicated by the presented
18    data. As a result, his rate is not only reasonable, it is in my opinion even somewhat
19    less than the prevailing market rate in 2023 for an attorney of his experience and
20    skill in the Central District of California.
21     Name of        Hourly          Year Hourly Rate          Case Citation
22     Attorney       Rate            of      Conservatively
23     and Years      Found           Rate    Adjusted for
24     of             Reasonable              Inflation (3%
25     Experience                             per year) to
26     When                                   2023
27     Requesting
28     Rate

      DECLARATION OF CHRISTOPHER SPROUL              83      Case No. 8:18-cv-00333 DOC (DFM)
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1     Adrineh        $550.00      2021    $583.50      Aecom Energy & Constr.,
2     Shakelian (0                                     Inc. v. Topolewski, No.
3     years)                                           17-5398, 2022 U.S. Dist.
4                                                      LEXIS 84689 (C.D. Cal.
5                                                      May 9, 2022)
6     Colleen        $225.00      2020    $245.86      Alikhan v. Goodrich
7     Raspberry                                        Corp., No. 17-6756, 2020
8     (0 years) -                                      U.S. Dist. LEXIS 155169
9     law clerk                                        (C.D. Cal. June 25, 2020)
10    Ashley         $300.00      2020    $327.82      Chen v. W. Dig.
11    Johnson (0                                       Corp., No. 19-00909,
12    years) -                                         2021 U.S. Dist. LEXIS
13    summer                                           6728 (C.D. Cal. Jan. 5,
14    associate                                        2021)
15    Summer         $300.00      2020    $327.82      Chen v. W. Dig.
16    Associate (0                                     Corp., No. 19-00909,
17    years)                                           2021 U.S. Dist. LEXIS
18                                                     6728 (C.D. Cal. Jan. 5,
19                                                     2021)
20    Hannah         $400.00      2020    $437.09      Chen v. W. Dig.
21    Matsunaga                                        Corp., No. 19-00909,
22    (0 years)                                        2021 U.S. Dist. LEXIS
23                                                     6728 (C.D. Cal. Jan. 5,
24                                                     2021)
25    Isabel         $400.00      2020    $437.09      Chen v. W. Dig.
26    Finley (1                                        Corp., No. 19-00909,
27    year)                                            2021 U.S. Dist. LEXIS
28

      DECLARATION OF CHRISTOPHER SPROUL       84    Case No. 8:18-cv-00333 DOC (DFM)
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1                                                      6728 (C.D. Cal. Jan. 5,
2                                                      2021)
3     Julia Wells    $475.00      2018    $550.66      Edwards v. Chartwell
4     (1 year)                                         Staffing Servs., No. 16-
5                                                      9187, 2018 U.S. Dist.
6                                                      LEXIS 234700 (C.D. Cal.
7                                                      Aug. 27, 2018)
8     Marielle       $150.00      2022    $154.50      French v. City of L.A., No.
9     Sider (0                                         20-00416, 2022 U.S. Dist.
10    years) -                                         LEXIS 111194 (C.D. Cal.
11    legal intern                                     May 10, 2022)
12    Sara Miller    $435.00      2019    $489.60      Homegoods, Inc. v.
13    (1 year)                                         Papanicolaou, No. 19-
14                                                     06912, 2019 U.S. Dist.
15                                                     LEXIS 221967 (C.D. Cal.
16                                                     Dec. 4, 2019)
17    Luke R.        $425.00      2019    $478.34      Jiangchen v. Rentech,
18    Kennedy (1                                       Inc., No. 17-1490, 2019
19    year)                                            U.S. Dist. LEXIS 180474
20                                                     (C.D. Cal. Oct. 10, 2019)
21    Rachel Shen $495.00         2018    $573.84      WB Music Corp. v. Royce
22    (0 years)                                        Int'l Broad. Corp., No.
23                                                     16-600, 2018 U.S. Dist.
24                                                     LEXIS 227743 (C.D. Cal.
25                                                     July 9, 2018)
26    Rachel S.      $400.50      2017    $478.22      WB Music Corp. v. Royce
27    Shen (1                                          Int'l Broad. Corp., No.
28    year)                                            16-600, 2018 U.S. Dist.

      DECLARATION OF CHRISTOPHER SPROUL       85    Case No. 8:18-cv-00333 DOC (DFM)
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1                                                              LEXIS 227743 (C.D. Cal.
2                                                              July 9, 2018)
3      Cassandra      $440.00       2018    $510.08            WB Music Corp. v. Royce
4      E. Havens                                               Int'l Broad. Corp., No.
5      (1 year)                                                16-600, 2018 U.S. Dist.
6                                                              LEXIS 227743 (C.D. Cal.
7                                                              July 9, 2018)
8        XIV. Jennifer Novak’s Reasonable 2023 Hourly Rate For Attorney Work.
9           52.    Jennifer Novak has 27 years of experience as of the time this Motion is
10    filed. I have worked closely with Ms. Novak as co-counsel on this matter over the
11    last several years. Based on my years of experience working with her, I am well
12    aware that she has extensive expertise in environmental citizen suit litigation—as is
13    further reflected in her declaration in support of Plaintiffs’ fee motion. I am aware
14    that Ms. Novak is claiming a $925 per hour rate in this case as a rate commensurate
15    with prevailing market rates in the Los Angeles/Orange County area legal market. It
16    is my opinion that Ms. Novak’s hourly rate of $925 per hour is an appropriate 2023
17    rate to claim in the Los Angeles/Orange County area legal market for an attorney
18    with extensive environmental law expertise. This rate is commensurate with, even
19    lower than, rates found reasonable in Central District of California attorneys’ fee
20    award decisions for attorneys with her level of skill and experience working on
21    cases involving complex civil litigation. In evaluating her hourly rate, I have
22    reviewed market data and attorney fee awards in cases decided over the past several
23    years involving various types of complex civil litigation in the U.S. District Court
24    for the Central District of California, which are described below.
25          53.    In the chart below, I have set forth the rates that the Court found
26    reasonable in the representative Central District of California cases that support the
27    reasonableness of Ms. Novak’s hourly rate and then what those rates would be as an
28    inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a very

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1     conservative 3% per year inflation value that likely underestimates actual attorney
2     fee inflation over the relevant period). The average of these historical rates is
3     $931.71 per hour, before correcting for inflation. Utilizing a 3% per year inflation
4     adjustment, the average of the attorney hourly rates from the cases below is
5     $1,021.01 per hour. These figures are notably above Ms. Novak’s rate of $925 per
6     hour. Given that her $925 per hour rate is below these figures, her rate is not only
7     reasonable, it is in my opinion even somewhat less than the prevailing market rate in
8     2023 for an attorney with extensive environmental law/complex civil litigation
9     experience in the Central District of California.
10     Name of          Hourly         Year     Hourly Rate        Case Citation
11     Attorney and Rate               of       Conservatively
12     Years of         Found          Rate     Adjusted for
13     Experience       Reasonable              Inflation (3%
14     When                                     per year) to
15     Requesting                               2023
16     Rate
17     Mikael Stahle $875.00           2020     $956.14            Alikhan v. Goodrich
18     (24 years)                                                  Corp., No. 17-6756,
19                                                                 2020 U.S. Dist. LEXIS
20                                                                 155169 (C.D. Cal. June
21                                                                 25, 2020)
22     James            $775.00        2019     $872.27            Abbas v. Vertical
23     Chadwick (28                                                Entm't, LLC, No. 18-
24     years)                                                      7399, 2019 U.S. Dist.
25                                                                 LEXIS 181056 (C.D.
26                                                                 Cal. Oct. 18, 2019)
27
28

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1     Diana Torres    $892.00       2018   $913.18           Aecom Energy &
2     (26 years)                                             Constr. v. Ripley, No.
3                                                            17-5398, 2018 U.S.
4                                                            Dist. LEXIS 173810
5                                                            (C.D. Cal. Oct. 9,
6                                                            2018)
7     Diana Torres    $1,116.00     2021   $1,183.96         Aecom Energy &
8     (29 years)                                             Constr., Inc. v.
9                                                            Topolewski, No. 17-
10                                                           5398, 2022 U.S. Dist.
11                                                           LEXIS 84689 (C.D.
12                                                           Cal. May 9, 2022)
13    Scott Brooks    $850.00       2020   $902.49           Alikhan v. Goodrich
14    (28 years)                                             Corp., No. 17-6756,
15                                                           2020 U.S. Dist. LEXIS
16                                                           155169 (C.D. Cal. June
17                                                           25, 2020)
18    Matthew J.      $950.00       2020   $1,038.09         Alikhan v. Goodrich
19    Matern (28                                             Corp., No. 17-6756,
20    years)                                                 2020 U.S. Dist. LEXIS
21                                                           155169 (C.D. Cal. June
22                                                           25, 2020)
23    Kevin Sharp     $1,000.00     2020   $1,092.73         Chen v. W. Dig.
24    (27 years)                                             Corp., No. 19-00909,
25                                                           2021 U.S. Dist. LEXIS
26                                                           6728 (C.D. Cal. Jan. 5,
27                                                           2021)
28

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1     Matthew J        $850.00      2018   $985.38           Edwards v. Chartwell
2     Matern (26                                             Staffing Servs., No. 16-
3     years)                                                 9187, 2018 U.S. Dist.
4                                                            LEXIS 234700 (C.D.
5                                                            Cal. Aug. 27, 2018)
6     Scott A.         $850.00      2020   $928.82           Fan v. Delta Air Lines,
7     Brooks (28                                             No. 19-04599, 2020
8     years)                                                 U.S. Dist. LEXIS
9                                                            157480 (C.D. Cal. May
10                                                           20, 2020)
11    Matthew J.       $950.00      2020   $1,038.09         Fan v. Delta Air Lines,
12    Matern (28                                             No. 19-04599, 2020
13    years)                                                 U.S. Dist. LEXIS
14                                                           157480 (C.D. Cal. May
15                                                           20, 2020)
16    Joseph N.        $1,120.00    2022   $1,153.60         Hope Med. Enters. v.
17    Akrotirianakis                                         Fagrgon Compounding
18    (24 years)                                             Serv., LLC, No. 19-
19                                                           07748, 2022 U.S. Dist.
20                                                           LEXIS 49151 (C.D.
21                                                           Cal. Mar. 14, 2022)
22    Jeffrey          $1,295.00    2022   $1,333.85         Hope Med. Enters. v.
23    Bucholtz (26                                           Fagrgon Compounding
24    years)                                                 Serv., LLC, No. 19-
25                                                           07748, 2022 U.S. Dist.
26                                                           LEXIS 49151 (C.D.
27                                                           Cal. Mar. 14, 2022)
28

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1     Joseph Cohen $935.00          2019   $1,052.35         Jiangchen v. Rentech,
2     (28 years)                                             Inc., No. 17-1490, 2019
3                                                            U.S. Dist. LEXIS
4                                                            180474 (C.D. Cal. Oct.
5                                                            10, 2019)
6     Various (25+    $1,060.00     2020   $1,158.29         Marshall v. Northrop
7     years)                                                 Grumman Corp., No.
8                                                            16-6794, 2020 U.S.
9                                                            Dist. LEXIS 177056
10                                                           (C.D. Cal. Sep. 18,
11                                                           2020)
12    Sharon D.       $742.50       2016   $913.18           WB Music Corp. v.
13    Mayo (26                                               Royce Int'l Broad.
14    years)                                                 Corp., No. 16-600,
15                                                           2020 U.S. Dist. LEXIS
16                                                           247679 (C.D. Cal. Nov.
17                                                           20, 2020)
18    Sharon D.       $778.50       2017   $929.57           WB Music Corp. v.
19    Mayo (27                                               Royce Int'l Broad.
20    years)                                                 Corp., No. 16-600,
21                                                           2020 U.S. Dist. LEXIS
22                                                           247679 (C.D. Cal. Nov.
23                                                           20, 2020)
24    Sharon D.       $778.50       2018   $902.49           WB Music Corp. v.
25    Mayo (28                                               Royce Int'l Broad.
26    years)                                                 Corp., No. 16-600,
27                                                           2020 U.S. Dist. LEXIS
28

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1                                                                 247679 (C.D. Cal. Nov.
2                                                                 20, 2020)
3
4     Sharon D.         $828.00       2019     $1,183.96          WB Music Corp. v.
5     Mayo (29                                                    Royce Int'l Broad.
6     years)                                                      Corp., No. 16-600,
7                                                                 2020 U.S. Dist. LEXIS
8                                                                 247679 (C.D. Cal. Nov.
9                                                                 20, 2020)
10    Sharon D.         $895.50       2020     $978.54            WB Music Corp. v.
11    Mayo (30                                                    Royce Int'l Broad.
12    years)                                                      Corp., No. 16-600,
13                                                                2020 U.S. Dist. LEXIS
14                                                                247679 (C.D. Cal. Nov.
15                                                                20, 2020)
16    John Buse (28 $875.00           2020     $956.14            Wishtoyo Found. v.
17    years)                                                      United Water
18                                                                Conservation Dist., No.
19                                                                19-55380 (9th Cir.
20                                                                Nov. 16, 2020)
21    Kristin A.        $1,150.00     2021     $1,220.04          Woodhouse v. United
22    Linsley (28                                                 States Gov't, No. 21-
23    years)                                                      06372, 2021 U.S. Dist.
24                                                                LEXIS 249920 (C.D.
25                                                                Cal. Dec. 31, 2021)
26          54.     The 23 additional data points in the chart below further support the
27    reasonableness of Ms. Novak’s rate of $925 per hour. The attorneys in these cases
28    had between 4 and 22 years less experience than Ms. Novak, and the Courts found

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1     that rates exceeding her rate of $925 per hour were reasonable for those attorneys,
2     after conservatively correcting for inflation. Indeed, the Courts found rates
3     exceeding Ms. Novak’s rate, even without correcting for inflation at all, reasonable
4     for attorneys with as many as 13 years less experience.
5      Name of       Hourly        Year Hourly Rate          Case Citation
6      Attorney      Rate          of      Conservatively
7      and Years     Found         Rate Adjusted for
8      of            Reasonable            Inflation (3%
9      Experience                          per year) to
10     When                                2023
11     Requesting
12     Rate
13     Russell       $850.00       2020 $928.82              Chen v. W. Dig.
14     Kornblith                                             Corp., No. 19-
15     (7 years)                                             00909, 2021 U.S.
16                                                           Dist. LEXIS 6728
17                                                           (C.D. Cal. Jan. 5,
18                                                           2021)
19     Michael       $850.00       2020 $928.82              Chen v. W. Dig.
20     Palmer (15                                            Corp., No. 19-
21     years)                                                00909, 2021 U.S.
22                                                           Dist. LEXIS 6728
23                                                           (C.D. Cal. Jan. 5,
24                                                           2021)
25     Andrew        $850.00       2020 $928.82              Chen v. W. Dig.
26     Melzer (16                                            Corp., No. 19-
27     years)                                                00909, 2021 U.S.
28                                                           Dist. LEXIS 6728

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1                                                    (C.D. Cal. Jan. 5,
2                                                    2021)
3     Andrew        $850.00      2020 $928.82        Alikhan v.
4     Sokolowski                                     Goodrich
5     (17 years)                                     Corp., No. 17-
6                                                    6756, 2020 U.S.
7                                                    Dist. LEXIS
8                                                    155169 (C.D. Cal.
9                                                    June 25, 2020)
10    Launa         $850.00      2020 $928.82        Alikhan v.
11    Adolf (17                                      Goodrich
12    years)                                         Corp., No. 17-
13                                                   6756, 2020 U.S.
14                                                   Dist. LEXIS
15                                                   155169 (C.D. Cal.
16                                                   June 25, 2020)
17    Yungmoon      $876.00      2021 $929.35        Aecom Energy &
18    Chang (5                                       Constr., Inc. v.
19    years)                                         Topolewski, No.
20                                                   17-5398, 2022
21                                                   U.S. Dist. LEXIS
22                                                   84689 (C.D. Cal.
23                                                   May 9, 2022)
24    Andrew        $872.00      2020 $952.86        Laub v.
25    Ditchfield                                     Horbaczewski, No.
26    (13 years)                                     17-6210, 2020
27                                                   U.S. Dist. LEXIS
28

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1                                                    259004 (C.D. Cal.
2                                                    Nov. 23, 2020)
3     Ryan          $875.00      2021 $928.29        Relman Colfax
4     Weinstein                                      Pllc v. Fair Hous.
5     (16 years)                                     Council of San
6                                                    Fernando Valley,
7                                                    No. 19-8612, 2021
8                                                    U.S. Dist. LEXIS
9                                                    93147 (C.D. Cal.
10                                                   Mar. 16, 2021)
11    Ex Kano       $850.00      2019 $956.68        Jiangchen v.
12    Sams (22                                       Rentech, Inc., No.
13    years)                                         17-1490, 2019
14                                                   U.S. Dist. LEXIS
15                                                   180474 (C.D. Cal.
16                                                   Oct. 10, 2019)
17    Ryan          $915.00      2021 $970.72        Relman Colfax
18    Weinstein                                      Pllc v. Fair Hous.
19    (16 years)                                     Council of San
20                                                   Fernando Valley,
21                                                   No. 19-8612, 2021
22                                                   U.S. Dist. LEXIS
23                                                   93147 (C.D. Cal.
24                                                   Mar. 16, 2021)
25    Matthew       $875.00      2018 $1,014.36      McAllister v. St.
26    Murphy (8                                      Louis Rams, LLC,
27    years)                                         No. 17-157, 2018
28                                                   U.S. Dist. LEXIS

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1                                                    227704 (C.D. Cal.
2                                                    July 2, 2018)
3     Andrew        $935.00      2020 $1,021.70      Relman Colfax
4     Soukup (12                                     Pllc v. Fair Hous.
5     years)                                         Council of San
6                                                    Fernando Valley,
7                                                    No. 19-8612, 2021
8                                                    U.S. Dist. LEXIS
9                                                    93147 (C.D. Cal.
10                                                   Mar. 16, 2021)
11    Heather       $1,000.00    2022 $1,030.00      Hope Med. Enters.
12    Banuelos                                       v. Fagrgon
13    (22 years)                                     Compounding
14                                                   Serv., LLC, No.
15                                                   19-07748, 2022
16                                                   U.S. Dist. LEXIS
17                                                   49151 (C.D. Cal.
18                                                   Mar. 14, 2022)
19    Andrew        $975.00      2021 $1,034.38      Relman Colfax
20    Soukup (13                                     Pllc v. Fair Hous.
21    years)                                         Council of San
22                                                   Fernando Valley,
23                                                   No. 19-8612, 2021
24                                                   U.S. Dist. LEXIS
25                                                   93147 (C.D. Cal.
26                                                   Mar. 16, 2021)
27
28

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1     Anne          $1,005.00    2022 $1,035.15      Hope Med. Enters.
2     Voigts (20                                     v. Fagrgon
3     years)                                         Compounding
4                                                    Serv., LLC, No.
5                                                    19-07748, 2022
6                                                    U.S. Dist. LEXIS
7                                                    49151 (C.D. Cal.
8                                                    Mar. 14, 2022)
9     Felicia       $950.00      2020 $1,038.09      Chen v. W. Dig.
10    Medina (14                                     Corp., No. 19-
11    years)                                         00909, 2021 U.S.
12                                                   Dist. LEXIS 6728
13                                                   (C.D. Cal. Jan. 5,
14                                                   2021)
15    Charles       $950.00      2020 $1,038.09      Chen v. W. Dig.
16    Field (23                                      Corp., No. 19-
17    years)                                         00909, 2021 U.S.
18                                                   Dist. LEXIS 6728
19                                                   (C.D. Cal. Jan. 5,
20                                                   2021)
21    Lisa Dwyer $1,040.00       2022 $1,071.20      Hope Med. Enters.
22    (21 years)                                     v. Fagrgon
23                                                   Compounding
24                                                   Serv., LLC, No.
25                                                   19-07748, 2022
26                                                   U.S. Dist. LEXIS
27                                                   49151 (C.D. Cal.
28                                                   Mar. 14, 2022)

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1     Edward        $975.00      2018 $1,130.29      McAllister v. St.
2     Moss (14                                       Louis Rams, LLC,
3     years)                                         No. 17-157, 2018
4                                                    U.S. Dist. LEXIS
5                                                    227704 (C.D. Cal.
6                                                    July 2, 2018)
7     Aaron         $1,100.00    2022 $1,133.00      Hope Med. Enters.
8     Craig (23                                      v. Fagrgon
9     years)                                         Compounding
10                                                   Serv., LLC, No.
11                                                   19-07748, 2022
12                                                   U.S. Dist. LEXIS
13                                                   49151 (C.D. Cal.
14                                                   Mar. 14, 2022)
15    Benjamin      $1,130.00    2020 $1,234.78      Relman Colfax Pllc
16    Razi (20                                       v. Fair Hous.
17    years)                                         Council of San
18                                                   Fernando Valley,
19                                                   No. 19-8612, 2021
20                                                   U.S. Dist. LEXIS
21                                                   93147 (C.D. Cal.
22                                                   Mar. 16, 2021)
23    Benjamin      $1,170.00    2021 $1,241.25      Relman Colfax
24    Razi (21                                       Pllc v. Fair Hous.
25    years)                                         Council of San
26                                                   Fernando Valley,
27                                                   No. 19-8612, 2021
28                                                   U.S. Dist. LEXIS

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1                                                              93147 (C.D. Cal.
2                                                              Mar. 16, 2021)
3      David         $1,200.00      2020 $1,311.27             Chen v. W. Dig.
4      Sanford (23                                             Corp., No. 19-
5      years)                                                  00909, 2021 U.S.
6                                                              Dist. LEXIS 6728
7                                                              (C.D. Cal. Jan. 5,
8                                                              2021)
9        XV. Megan Meadows’ Reasonable 2023 Hourly Rate For Attorney Work.
10          55.    Megan Meadows has 17 years of experience as of the time this Motion
11    is filed. I have worked with Ms. Meadows as co-counsel in this matter over the last
12    several years. Based on my experience working with her, I am well aware that her
13    work is of excellent quality and she has extensive expertise in environmental citizen
14    suit litigation—as is further reflected in her declaration in support of Plaintiffs’ fee
15    motion. I am aware that the Law Office of Jennifer F. Novak is claiming a rate of
16    $845 per hour in this case as commensurate with prevailing market rates for the Los
17    Angeles/Orange County area legal market. It is my opinion that Ms. Meadows’
18    hourly rate of $845 per hour is an appropriate 2023 rate to claim in the Los
19    Angeles/Orange County area legal market for an attorney with extensive
20    environmental law and complex civil litigation experience. This rate is
21    commensurate with, even lower than, rates found reasonable in Central District of
22    California attorneys’ fee award decisions for attorneys with her level of experience
23    in cases involving complex civil litigation. In evaluating her hourly rate, I have
24    reviewed market data and attorney fee awards in cases decided over the past several
25    years involving various types of complex civil litigation in the U.S. District Court
26    for the Central District of California, which are described below.
27          56.    In the chart below, I have set forth the rates that the Court found
28    reasonable in the representative Central District of California cases that support the

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1     reasonableness of Ms. Meadows’ hourly rate and then what those rates would be as
2     an inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a
3     very conservative 3% per year inflation value that likely underestimates actual
4     attorney fee inflation over the relevant period). The average of these historical rates
5     is $826.25 per hour, before correcting for inflation. Utilizing a 3% per year inflation
6     adjustment, the average of the attorney hourly rates from the cases below is $906.99
7     per hour. The unadjusted figure is very close to Ms. Meadows’ rate of $845 per hour
8     ($18.75 less) and the conservatively adjusted figure is well in excess of Ms.
9     Meadows’ rate of $845 per hour ($61.99 above). Given the relationship of Ms.
10    Meadows’ $845 per hour rate to these figures, Ms. Meadows’ rate is in my opinion
11    consistent with the prevailing market rate in 2023 for an attorney with her level of
12    environmental and complex civil litigation experience in the Central District of
13    California.
14     Name of       Hourly         Year     Hourly Rate        Case Citation
15     Attorney      Rate           of       Conservatively
16     and Years     Found          Rate     Adjusted for
17     of            Reasonable              Inflation (3%
18     Experience                            per year) to
19     When                                  2023
20     Requesting
21     Rate
22     Michael       $790.00        2018     $915.83            3M Co. v. Phx. Auto.
23     Kahn (16                                                 Refinishing Co., No. 17-
24     years)                                                   00649, 2018 U.S. Dist.
25                                                              LEXIS 70589 (C.D. Cal.
26                                                              Apr. 25, 2018)
27
28

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1      Andrew       $850.00      2020     $928.82       Alikhan v. Goodrich
2      Sokolowski                                       Corp., No. 17-6756, 2020
3      (17 years)                                       U.S. Dist. LEXIS 155169
4                                                       (C.D. Cal. June 25, 2020)
5      Launa        $850.00      2020     $928.82       Alikhan v. Goodrich
6      Adolf (17                                        Corp., No. 17-6756, 2020
7      years)                                           U.S. Dist. LEXIS 155169
8                                                       (C.D. Cal. June 25, 2020)
9      Max Sloves $675.00        2020     $737.59       Alikhan v. Goodrich
10     (19 years)                                       Corp., No. 17-6756, 2020
11                                                      U.S. Dist. LEXIS 155169
12                                                      (C.D. Cal. June 25, 2020)
13     Michael      $850.00      2020     $928.82       Chen v. W. Dig.
14     Palmer (15                                       Corp., No. 19-00909,
15     years)                                           2021 U.S. Dist. LEXIS
16                                                      6728 (C.D. Cal. Jan. 5,
17                                                      2021)
18     Andrew       $850.00      2020     $928.82       Chen v. W. Dig.
19     Melzer (16                                       Corp., No. 19-00909,
20     years)                                           2021 U.S. Dist. LEXIS
21                                                      6728 (C.D. Cal. Jan. 5,
22                                                      2021)
23     Launa        $750.00      2018     $808.55       Edwards v. Chartwell
24     Adolph (15                                       Staffing Servs., No. 16-
25     years)                                           9187, 2018 U.S. Dist.
26                                                      LEXIS 234700 (C.D. Cal.
27                                                      Aug. 27, 2018)
28

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1      John            $785.00       2022     $869.46            French v. City of
2      Fattahi (15                                               L.A., No. 20-00416, 2022
3      years)                                                    U.S. Dist. LEXIS 111194
4                                                                (C.D. Cal. May 10, 2022)
5      Stanislav       $775.00       2019     $872.27            Jiangchen v. Rentech,
6      Karas (17                                                 Inc., No. 17-1490, 2019
7      years)                                                    U.S. Dist. LEXIS 180474
8                                                                (C.D. Cal. Oct. 10, 2019)
9      Various         $950.00       2020     $1,038.09          Marshall v. Northrop
10     (15-24                                                    Grumman Corp., No. 16-
11     years)                                                    6794, 2020 U.S. Dist.
12                                                               LEXIS 177056 (C.D. Cal.
13                                                               Sep. 18, 2020)
14     Ryan            $875.00       2020     $956.14            Relman Colfax Pllc v.
15     Weinstein                                                 Fair Hous. Council of
16     (15 years)                                                San Fernando Valley, No.
17                                                               19-8612, 2021 U.S. Dist.
18                                                               LEXIS 93147 (C.D. Cal.
19                                                               Mar. 16, 2021)
20     Ryan            $915.00       2021     $970.72            Relman Colfax Pllc v.
21     Weinstein                                                 Fair Hous. Council of
22     (16 years)                                                San Fernando Valley, No.
23                                                               19-8612, 2021 U.S. Dist.
24                                                               LEXIS 93147 (C.D. Cal.
25                                                               Mar. 16, 2021)
26            57.    The 13 additional data points in the chart below further support the
27    reasonableness of Ms. Meadows’ rate of $845 per hour. The attorneys in these cases
28    had between 3 and 14 years less experience than Ms. Meadows, and the Courts

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1     found that rates exceeding her rate of $845 per hour were reasonable for those
2     attorneys, after conservatively correcting for inflation. Indeed, the Courts found
3     rates exceeding Ms. Meadows’ rate, even without correcting for inflation at all,
4     reasonable for attorneys with as many as 12 years less experience.
5      Name of       Hourly        Year     Hourly Rate        Case Citation
6      Attorney      Rate          of       Conservatively
7      and Years     Found         Rate     Adjusted for
8      of            Reasonable             Inflation (3%
9      Experience                           per year) to
10     When                                 2023
11     Requesting
12     Rate
13     Stephanie     $770.00       2018     $892.64            McAllister v. St. Louis
14     Drotar (3                                               Rams, LLC, No. 17-
15     years)                                                  157, 2018 U.S. Dist.
16                                                             LEXIS 227704 (C.D.
17                                                             Cal. July 2, 2018)
18     Yungmoon      $876.00       2021     $929.35            Aecom Energy &
19     Chang (5                                                Constr., Inc. v.
20     years)                                                  Topolewski, No. 17-
21                                                             5398, 2022 U.S. Dist.
22                                                             LEXIS 84689 (C.D.
23                                                             Cal. May 9, 2022)
24     Russell       $850.00       2020     $928.82            Chen v. W. Dig.
25     Kornblith                                               Corp., No. 19-00909,
26     (7 years)                                               2021 U.S. Dist. LEXIS
27                                                             6728 (C.D. Cal. Jan. 5,
28                                                             2021)

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1      Matthew      $875.00      2018     $1,014.36       McAllister v. St. Louis
2      Murphy (8                                          Rams, LLC, No. 17-
3      years)                                             157, 2018 U.S. Dist.
4                                                         LEXIS 227704 (C.D.
5                                                         Cal. July 2, 2018)
6      Felicia      $800.00      2020     $874.18         Chen v. W. Dig.
7      Gilbert (9                                         Corp., No. 19-00909,
8      years)                                             2021 U.S. Dist. LEXIS
9                                                         6728 (C.D. Cal. Jan. 5,
10                                                        2021)
11     Eric Brown $825.00        2020     $901.50         Fan v. Delta Air
12     (12 years)                                         Lines, No. 19-04599,
13                                                        2020 U.S. Dist. LEXIS
14                                                        157480 (C.D. Cal. May
15                                                        20, 2020)
16     Andrew       $935.00      2020     $1,021.70       Relman Colfax Pllc v.
17     Soukup (12                                         Fair Hous. Council of
18     years)                                             San Fernando Valley,
19                                                        No. 19-8612, 2021 U.S.
20                                                        Dist. LEXIS 93147
21                                                        (C.D. Cal. Mar. 16,
22                                                        2021)
23     Jackson      $740.00      2018     $857.86         WB Music Corp. v.
24     Wagener                                            Royce Int'l Broad.
25     (13 years)                                         Corp., No. 16-600,
26                                                        2018 U.S. Dist. LEXIS
27                                                        227743 (C.D. Cal. July
28                                                        9, 2018)

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1      Jackson      $740.00      2018     $857.86         WB Music Corp. v.
2      Wagener                                            Royce Int'l Broad.
3      (13 years)                                         Corp., No. 16-600,
4                                                         2020 U.S. Dist. LEXIS
5                                                         247679 (C.D. Cal. Nov.
6                                                         20, 2020)
7      Andrew       $872.00      2020     $952.86         Laub v.
8      Ditchfield                                         Horbaczewski, No. 17-
9      (13 years)                                         6210, 2020 U.S. Dist.
10                                                        LEXIS 259004 (C.D.
11                                                        Cal. Nov. 23, 2020)
12     Andrew       $975.00      2021     $1,034.38       Relman Colfax Pllc v.
13     Soukup (13                                         Fair Hous. Council of
14     years)                                             San Fernando Valley,
15                                                        No. 19-8612, 2021 U.S.
16                                                        Dist. LEXIS 93147
17                                                        (C.D. Cal. Mar. 16,
18                                                        2021)
19     Felicia      $950.00      2020     $1,038.09       Chen v. W. Dig.
20     Medina (14                                         Corp., No. 19-00909,
21     years)                                             2021 U.S. Dist. LEXIS
22                                                        6728 (C.D. Cal. Jan. 5,
23                                                        2021)
24     Edward       $975.00      2018     $1,130.29       McAllister v. St. Louis
25     Moss (14                                           Rams, LLC, No. 17-
26     years)                                             157, 2018 U.S. Dist.
27                                                        LEXIS 227704 (C.D.
28                                                        Cal. July 2, 2018)

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1        XVI. Nichole Fandino’s Reasonable 2023 Hourly Rate For Attorney Work.
2           58.    Nichole Fandino has one year of experience as of the time this Motion
3     is filed. I am aware that the Law Office of Jennifer F. Novak has set a $430 per hour
4     rate is the rate to seek in this matter for Ms. Fandino’s work as a rate commensurate
5     with prevailing market rates in the Los Angeles/Orange County area legal market. It
6     is my opinion that Ms. Fandino’s hourly rate of $430 per hour is an appropriate
7     2023 rate to claim in the Los Angeles/Orange County area legal market for a
8     reasonably skilled entry-level attorney working on complex civil litigation. This rate
9     is commensurate with, even lower than, rates found reasonable in Central District of
10    California attorneys’ fee award decisions for attorneys with her experience level
11    working on cases involving complex civil litigation. In evaluating her hourly rate, I
12    have reviewed market data and attorney fee awards in cases decided over the past
13    several years involving various types of complex civil litigation in the U.S. District
14    Court for the Central District of California, which are described below.
15          59.    In the chart below, I have set forth the rates that the Court found
16    reasonable in the representative Central District of California cases that support the
17    reasonableness of Ms. Fandino’s hourly rate and then what those rates would be as
18    an inflation-adjusted 2023 attorney fee rate (as discussed above, I have utilized a
19    very conservative 3% per year inflation value that likely underestimates actual
20    attorney fee inflation over the relevant period). The average of these historical rates
21    is $440.45 per hour, before correcting for inflation. Utilizing a 3% per year inflation
22    adjustment, the average of the attorney hourly rates from the cases below is $492.94
23    per hour. Given that Ms. Fandino’s $430 per hour rate is below these figures, her
24    rate is not only reasonable, it is in my opinion even somewhat less than the
25    prevailing market rate in 2023 for an attorney of her experience and skill in the
26    Central District of California. Furthermore, and notably, these figures also include
27    rates awarded to individuals that were presumably not even lawyers yet. For
28    example, the below chart includes one law clerk, 2 summer associates, and a legal

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1     intern, none of whom are presumably attorneys yet. Therefore, these figures are
2     likely evern more conservative when applied to an attorney rate, as Plaintiffs are
3     doing here for Ms. Fandino.
4      Name of          Hourly        Year    Hourly Rate       Case Citation
5      Attorney and Rate              of      Conservatively
6      Years of         Found         Rate    Adjusted for
7      Experience       Reasonable            Inflation (3%
8      When                                   per year) to
9      Requesting                             2023
10     Rate
11     Yungmoon         $554.00       2018    $642.24           Aecom Energy &
12     Chang (2                                                 Constr. v. Ripley, No.
13     years)                                                   17-5398, 2018 U.S.
14                                                              Dist. LEXIS 173810
15                                                              (C.D. Cal. Oct. 9,
16                                                              2018)
17     Adrineh          $550.00       2021    $583.50           Aecom Energy &
18     Shakelian (0                                             Constr., Inc. v.
19     years)                                                   Topolewski, No. 17-
20                                                              5398, 2022 U.S. Dist.
21                                                              LEXIS 84689 (C.D.
22                                                              Cal. May 9, 2022)
23     Maria Beltran    $656.00       2021    $695.95           Aecom Energy &
24     (2 years)                                                Constr., Inc. v.
25                                                              Topolewski, No. 17-
26                                                              5398, 2022 U.S. Dist.
27                                                              LEXIS 84689 (C.D.
28                                                              Cal. May 9, 2022)

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1      Colleen         $225.00      2020   $245.86         Alikhan v. Goodrich
2      Raspberry (0                                        Corp., No. 17-6756,
3      years) - law                                        2020 U.S. Dist. LEXIS
4      clerk                                               155169 (C.D. Cal. June
5                                                          25, 2020)
6      Sydney          $525.00      2020   $573.68         Alikhan v. Goodrich
7      Adams (2                                            Corp., No. 17-6756,
8      years)                                              2020 U.S. Dist. LEXIS
9                                                          155169 (C.D. Cal. June
10                                                         25, 2020)
11     Ashley          $300.00      2020   $327.82         Chen v. W. Dig.
12     Johnson (0                                          Corp., No. 19-00909,
13     years) -                                            2021 U.S. Dist. LEXIS
14     summer                                              6728 (C.D. Cal. Jan. 5,
15     associate                                           2021)
16     Summer          $300.00      2020   $327.82         Chen v. W. Dig.
17     Associate (0                                        Corp., No. 19-00909,
18     years)                                              2021 U.S. Dist. LEXIS
19                                                         6728 (C.D. Cal. Jan. 5,
20                                                         2021)
21     Hannah          $400.00      2020   $437.09         Chen v. W. Dig.
22     Matsunaga (0                                        Corp., No. 19-00909,
23     years) -                                            2021 U.S. Dist. LEXIS
24     litigation                                          6728 (C.D. Cal. Jan. 5,
25     fellow                                              2021)
26     Isabel Finley   $400.00      2020   $437.09         Chen v. W. Dig.
27     (1 year)                                            Corp., No. 19-00909,
28                                                         2021 U.S. Dist. LEXIS

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1                                                          6728 (C.D. Cal. Jan. 5,
2                                                          2021)
3
       Julia Wells (1   $475.00     2018   $550.66         Edwards v. Chartwell
4
       year)                                               Staffing Servs., No. 16-
5
                                                           9187, 2018 U.S. Dist.
6
                                                           LEXIS 234700 (C.D.
7
                                                           Cal. Aug. 27, 2018)
8
       Irina            $475.00     2018   $550.66         Edwards v. Chartwell
9
       Kirnosova (2                                        Staffing Servs., No. 16-
10
       years)                                              9187, 2018 U.S. Dist.
11
                                                           LEXIS 234700 (C.D.
12
                                                           Cal. Aug. 27, 2018)
13
       Marielle Sider $150.00       2022   $154.50         French v. City of
14
       (0 years) -                                         L.A., No. 20-00416,
15
       legal intern                                        2022 U.S. Dist. LEXIS
16
                                                           111194 (C.D. Cal. May
17
                                                           10, 2022)
18
       Sara Miller (1   $435.00     2019   $489.60         Homegoods, Inc. v.
19
       year)                                               Papanicolaou, No. 19-
20
                                                           06912, 2019 U.S. Dist.
21
                                                           LEXIS 221967 (C.D.
22
                                                           Cal. Dec. 4, 2019)
23
       Luke R.          $425.00     2019   $478.34         Jiangchen v. Rentech,
24
       Kennedy (1                                          Inc., No. 17-1490, 2019
25
       year)                                               U.S. Dist. LEXIS
26
                                                           180474 (C.D. Cal. Oct.
27
                                                           10, 2019)
28

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1      Daniel Rios (2 $600.00       2020   $655.64         Relman Colfax Pllc v.
2      years)                                              Fair Hous. Council of
3                                                          San Fernando Valley,
4                                                          No. 19-8612, 2021 U.S.
5                                                          Dist. LEXIS 93147
6                                                          (C.D. Cal. Mar. 16,
7                                                          2021)
8      Rachel Shen      $495.00     2018   $573.84         WB Music Corp. v.
9      (0 years)                                           Royce Int'l Broad.
10                                                         Corp., No. 16-600,
11                                                         2018 U.S. Dist. LEXIS
12                                                         227743 (C.D. Cal. July
13                                                         9, 2018)
14     Rachel S.        $400.50     2017   $478.22         WB Music Corp. v.
15     Shen (1 year)                                       Royce Int'l Broad.
16                                                         Corp., No. 16-600,
17                                                         2018 U.S. Dist. LEXIS
18                                                         227743 (C.D. Cal. July
19                                                         9, 2018)
20     Cassandra E.     $440.00     2018   $510.08         WB Music Corp. v.
21     Havens (1                                           Royce Int'l Broad.
22     year)                                               Corp., No. 16-600,
23                                                         2018 U.S. Dist. LEXIS
24                                                         227743 (C.D. Cal. July
25                                                         9, 2018)
26     Rachel S.        $495.00     2018   $573.84         WB Music Corp. v.
27     Shen (2 years)                                      Royce Int'l Broad.
28                                                         Corp., No. 16-600,

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1                                                                2018 U.S. Dist. LEXIS
2                                                                227743 (C.D. Cal. July
3                                                                9, 2018)
4      Cassandra E.     $508.50       2019     $572.32           WB Music Corp. v.
5      Havens (2                                                 Royce Int'l Broad.
6      years)                                                    Corp., No. 16-600,
7                                                                2018 U.S. Dist. LEXIS
8                                                                227743 (C.D. Cal. July
9                                                                9, 2018)
10       XVII. Hourly Rates for Paralegal Work.
11          60.    I have set the following hourly rates for paralegal work done by
12    attorneys or paralegals for Environmental Advocates in 2023 as reasonable Los
13    Angeles/Orange County area rates:
14                 $250 for 0-<10 years of experience
15                 $267 for 10-<20 years of experience
16                 $330 for 20+ years of experience
17          61.    I am aware that Aqua Terra Aeris Law Group, the Law Office of
18    Jennifer Novak, and Orange County Coastkeeper have also set similar hourly rates
19    for paralegal work done by attorneys or paralegals in 2023 as reasonable Los
20    Angeles/Orange County area rates.
21          62.    The above rates are consistent with rates found reasonable for paralegal
22    work in case law in the U.S. District Court for the Central District of California. For
23    example, in Aecom Energy & Constr., Inc. v. Topolewski, No. 17-5398, 2022 U.S.
24    Dist. LEXIS 84689 (C.D. Cal. May 9, 2022), the Court found junior paralegal rates
25    of $226-251 per hour and a senior paralegal rate of $396 per hour to be reasonable
26    2021 rates in the Los Angeles/Orange County area market. In Jiangchen v. Rentech,
27    Inc., No. 17-1490, 2019 U.S. Dist. LEXIS 180474 (C.D. Cal. Oct. 10, 2019) the
28    Court found 2019 Los Angeles/Orange County area market paralegal rates of $290

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1     per hour to be reasonable without consideration of experience level for the
2     paralegals involved, indicating that such rates were not controversial for paralegal
3     work generally. In Relman Colfax Pllc v. Fair Hous. Council of San Fernando
4     Valley, No. 19-8612, 2021 U.S. Dist. LEXIS 93147 (C.D. Cal. Mar. 16, 2021), the
5     Court found paralegal rates of $311 per hour reasonable in the in the Los
6     Angeles/Orange County area market. Furthermore, the Ninth Circuit in Wishtoyo
7     Found. v. United Water Conservation Dist., No. 19-55380, Dkt. 65 (9th Cir. Nov.
8     16, 2020), found 2020 paralegal rates of $245-$300 per hour reasonable as Los
9     Angeles/Orange County rates, including for some of the attorneys at issue in this
10    matter, including myself ($300 per hour) and Mr. Wilcox ($245 per hour, then an 8-
11    year attorney). In light of the foregoing, in my opinion the paralegal rates requested
12    here are plainly supported by case law as reasonable rates for paralegal work in the
13    Los Angeles/Orange County area market for paralegals engaged in complex federal
14    litigation.
15       XVIII.      Explanation for Reasonableness of Total Hours in the Context of
16                 Case Development and Outcome.
17           63.     This case has been extraordinarily complex as reflected in the 365
18    docket entries in this case, involving numerous issues of fact and law, a multitude of
19    motions and other filings, two District Court trials, Ninth Circuit cross-appeals, and
20    Corona Clay’s U.S. Supreme Court petition for certiorari. The complexity and
21    important precedential value of this case is reflected, for example, in the Ninth
22    Circuit publishing its decision reversing this Court’s initial 2019 judgment, noting
23    that it was a precedent-setting decision interpreting the new U.S. Supreme Court
24    decision, Cnty. of Maui v. Haw. Wildlife Fund, 140 S. Ct. 1462 (2020)--which
25    established a new test for what constitutes a CWA regulated point source discharge.
26    The factual and procedural complexity of this case is further underscored by the fact
27    that litigating this matter has required: (1) briefing and arguing 30 motions (two
28    Coastkeeper dispositive motions, 20 Coastkeeper motions in limine, one

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1     Coastkeeper motion to compel discovery, one Coastkeeper post-trial motion, one
2     Corona Clay dispositive motion, three Corona Clay motions in limine, and two
3     Corona Clay post-trial motions), (2) drafting and responding to voluminous written
4     discovery including drafting Coastkeeper’s three sets of initial disclosures, three sets
5     of requests for admission, four sets of requests for production of documents and
6     request for land inspection, and responding to Corona Clay’s three sets of
7     interrogatories and two sets of requests for production documents as well as
8     reviewing Corona Clay’s four sets of initial disclosures, (3) taking eight depositions
9     and defending six depositions taken by Corona Clay, (4) appearing in this Court for
10    numerous hearings and conferences, (5) submitting extensive trial related pleadings
11    such as memoranda of contentions of fact and law, trial briefs, and proposed jury
12    instructions (6) preparing trial exhibits, (7) conducting jury voir dire, (8) preparing
13    witnesses to testify at two trials and preparing counsel outlines of witness
14    questioning, (9) preparing and delivering four opening and closing trial statements,
15    (10) preparing voluminous excerpts of record for the Ninth Circuit cross-appeal in
16    this matter, (11) drafting multiple briefs for the Ninth Circuit cross-appeal, (12),
17    preparing for and delivering Ninth Circuit oral argument, (13) drafting a U.S.
18    Supreme Court brief opposing Corona Clay’s petition for certiorari, and (14)
19    engaging in multiple rounds of (unfortunately futile) settlement negotiation,
20    including engaging in the Ninth Circuit mediation process with Corona Clay, as
21    directed by the Ninth Circuit.
22          64.    I participated to varying degrees in all phases of this litigation, serving
23    largely as an advisor for the first trial, a partial co-author of some of the post
24    judgment motions briefing following the first trial, the lead counsel for purposes of
25    the Ninth Circuit cross-appeals, the lead counsel for responding to Corona Clay’s
26    Supreme Court certiorari petition, co-counsel with a fairly in-depth role for the
27    second trial, especially on trial briefing matters and on the opposition to Corona
28    Clay’s unsuccessful motion after the second trial to dismiss the case on

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1     jurisdictional grounds, and lead counsel on this motion for fees and costs. I have 36
2     years of experience in federal court complex civil litigation in environmental cases
3     and an additional one year of experience as a federal District Court law clerk. This
4     has been by far one of the most complex and heavily litigated matters that I have
5     ever participated in or witnessed. Jury trials in environmental enforcement cases,
6     including citizen suits, brought under the federal environmental laws are
7     exceedingly rare. Accordingly, litigating this matter has required my Coastkeeper
8     co-counsel and me to both work long hours and innovate when faced with legal
9     challenges that are almost never encountered in these types of cases.
10          65.    I and my co-counsel have worked on this matter on contingency, and
11    have had to incur very significant financial risk to our respective law firms, working
12    over 6,000 hours collectively on a matter presenting groundbreaking, novel issues
13    related to what constitutes a CWA point source discharge under evolving Supreme
14    Court doctrine. Moreover, the time commitment involved in representing
15    Coastkeeper on a case this complex and involved has necessitated that I and my co-
16    counsel defer taking other matters that would have posed less uncertainty in
17    outcome and volume of time commitment and thus significantly less financial risk. I
18    and my co-counsel have collectively many years of experience in complex federal
19    court civil litigation and many years of experience in environmental law, which,
20    when combined with diligent pursuit of this case, has resulted in a significant win
21    for the environment and our client Coastkeeper.
22       XIX. Plaintiffs’ Lodestar.
23          66.    To successfully litigate this case, Plaintiffs’ counsel have through
24    November 26, 2023 devoted over 6000 hours to litigating this matter. Coastkeeper’s
25    counsel have reduced their billable hours by over 1500 billable hours to reflect
26    billing judgment and are only seeking to recover for slightly less than 4500 billable
27    hours, for a total lodestar of $$,558,909.70. The attached Exhibit 1 summarizes the
28    claimed attorney lodestars for work performed by Plaintiffs’ counsel and paralegals

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1     in this case up through November 26, 2023. As noted above, the attached Exhibit 3
2     consolidates all Coastkeeper attorney and paralegal time records for this case. Time
3     records for each of the individual attorneys and paralegals who are seeking recovery
4     in this matter are also attached to this series of individual declarations that
5     Coastkeeper has filed along with Coastkeeper’s motion for attorneys’ fees and costs.
6           67.    As also noted in Exhibits 1 and 3, some Coastkeeper attorneys spent
7     time performing tasks that would be reasonably charged at a paralegal rate. In
8     addition, Coastkeeper had several paralegals perform certain paralegal tasks. In my
9     experience, it is customary in the California jurisdictions in which I have practiced,
10    including this one, to track paralegal task time separately from attorney time and bill
11    this time at a lower rate. This is the approach, (1) I have applied in several fee
12    petitions I have personally brought in the Central District, Northern District and
13    Eastern District of California (with subsequent court awards approving this
14    approach), (2) the approach applied by my co-counsel in other cases with which I
15    am familiar, and (3) an approach well supported by case law including numerous
16    decisions in the Central District of California.1 Therefore, I and my co-counsel have
17    applied a different billing rate to this paralegal time. The result is two sets of hours:
18    “attorney time,” which includes only those hours for which the attorneys were
19    performing legal services appropriate for an attorney, and “paralegal time,” which
20    includes those hours for which the attorneys were performing paralegal tasks. As
21    depicted in Exhibits 1 and 3, I and my co-counsel have multiplied the total “attorney
22    time” by the attorney’s hourly rate and the total “paralegal rate” by the reduced rate
23
24    1
       See, e.g., Hirsch v. Compton Unified Sch. Dist., No. CV 12-01269, 2013 U.S. Dist.
25    LEXIS 64556, 2013 WL 1898553, at *3 (C.D. Cal. May 3, 2013) (citing Missouri v.
      Jenkins, 491 U.S. 274, 286-88 (1989)); Perfect 10, Inc. v. Giganews, Inc., No. 11-
26    07098, 2015 U.S. Dist. LEXIS 54063, at **62-63 (C.D. Cal. Mar. 24,
27    2015); Intamin, Ltd. v. Magnetar Technologies Corp., No. 04-0511, 2009 U.S. Dist.
      LEXIS 123604, at *3 (C.D. Cal. Dec. 28, 2009); Pierce v. County of Orange, 905 F.
28    Supp. 2d 1017, 1031 (C.D. Cal. 2012); Elder v. National Conference of Bar
      Examiners, 2011 U.S. Dist LEXIS 102205, at *11.
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1     for paralegals to arrive at the total lodestar for each attorney. These lodestars are
2     based on the prevailing market rates for attorneys and paralegals in the Central
3     District of California described above.
4        XX. Plaintiffs’ Costs.
5           68.      It is my practice and the practice of Environmental Advocates to bill
6     clients separately for litigation expenses including court filing fees, court courtesy
7     copies, postage and other document delivery charges, deposition transcripts,
8     attorney travel, electronic legal research, expert witness costs, and
9     printing/photocopying, in addition to billing for attorney time.
10          69.      Based on my interactions with co-counsel and opposing counsel in
11    numerous cases, separate billing for litigation expenses such as court filing fees,
12    court courtesy copies, postage and other document delivery charges, deposition
13    transcripts, attorney travel, electronic legal research, expert witness costs, and
14    printing/photocopying is the prevailing practice in the Los Angeles/Orange County
15    market.
16          70.      A spreadsheet itemizing and summarizing Coastkeeper’s case costs in
17    this matter, including case costs incurred by Environmental Advocates, for which
18    Coastkeeper seeks reimbursement is attached as Exhibit 5. True and correct copies
19    of receipts documenting case expenses incurred on behalf of Coastkeeper by my
20    firm Environmental Advocates are included in Exhibit 2 to the contemporaneously
21    filed declaration of Barry Lee.
22       XXI. My Involvement in Wishtoyo Found. V. United Water Conservation
23                Dist., No. 16-3869 (C.D. Cal.)
24          71.      I was lead counsel for Plaintiffs in Wishtoyo Found v. United Water
25    Conservation Dist., No. 16-3869 (C.D. Cal.). In the Wishtoyo case I wrote or co-
26    authored all of the many briefs and other pleadings filed in the case, conducted or
27    assisted in all of the discovery, and served as lead trial counsel for the 11-day bench
28    trial in that matter, and my participation was necessary to the successful outcome

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1     there, as it was in the present case. As one task, I wrote Plaintiffs’ motion for
2     attorneys’ fees and costs and authored or directed the production of the many
3     documents associated with that motion.
4           72.    My involvement in the Wishtoyo matter is also relevant in that I used a
5     similar methodology as used above in this declaration for the timekeepers in this
6     matter to set the hourly rates claimed here as I did in the Wishtoyo matter to provide
7     evidence supporting counsel’s rates in the Wishtoyo matter. The Court, in approving
8     the rates in the Wishtoyo matter, effectively credited this methodology as providing
9     a reasonable manner of supporting counsel’s reasonable hourly rates. See Wishtoyo,
10    2019 U.S. Dist. LEXIS 39927, at *25 (finding “Plaintiffs have demonstrated that
11    courts in the Central District have awarded attorneys with comparable experience a
12    similar rate…”).
13          Pursuant to 28 U.S.C § 1746, I declare under penalty of perjury that the
14    foregoing is true and correct to the best of my knowledge.
15    Executed in San Francisco, California on December 6, 2023.
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18                                            Christopher Sproul
19                                            Environmental Advocates
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